 

 

Case 2:11-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.1 Page 1 of 69

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

 

SOUTHERN DIVISION
RONALD NIEPORTE,
Individually, Case No.
Plaintiff, Hon.
V Lower Court Case No. 10-4940-CH

CITIMORTGAGE, INC.

a foreign for profit corporation,
TROTT & TROTT, P.C.,

a Michigan corporation,

FEDERAL HOME LOAN MORTGAGE CORPORATION,

(Freddie Mac)

GTL LLC, a domestic limited liability company,

Jointly and severally,

Defendants.

Hon. John C. Foster

 

NOTICE OF REMOVAL

 

 

 

 

THE MORAN LAW FIRM
Valerie A. Moran (P56498)
Attomey for Plaintiff

115 N. Center Street, Suite 203
Northville, MI 48167

(248) 465-9400
vinoranatty(@aol.com

DYKEMA GOSSETT PLLC

K.J, Miller (P62014)

Attorneys For Defendant
CitiMortgage, Inc.

2723 South State Street, Suite 400
Ann Arbor, Michigan 48104
(734) 214-7678
kmiller@dykema.com

TROTT & TROTT, P.C.

Richard Welke (P44403)

Counsel for Defendants, TROTT &
TROTT, P.C., and FEDERAL HOME
LOANS MORTGAGE
CORPORATION

31440 Northwestern Hwy., Ste. 200
Farmington Hills, MI 48334

(248) 723-5765

rwelke(@trottlaw.com

HONIGMAN MILLER SCHWARTZ
& COHN

Gregory DeMarrs (P33578)
Attorneys for Defendant GJT

660 Woodward Avenue, Suite 2290
Detron, Michigan 48226

(313) 465-7356

gjd@honigman.com

 

L:\Karolyn\Richard. Welke\Nieporte, Ronald 227821LOS\Notice Of Removal 3-9-2011.Final.Doc

I

 
Case 2:11-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.2 Page 2 of 69

 

wa

 

NOTICE OF REMOVAL

 

TO: THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT
OF MICHIGAN, SOUTHERN DIVISION
Pursuant to 28 U.S.C. §1442, and 12 U.S.C. §1452(f), Defendant, Federal Home
Loan Mortgage Corporation (“Freddie Mac”) hereby gives notice of the removal of this
action from the Macomb County Circuit Court to the United States District Court for the

Eastern District of Michigan, Southern Division. As grounds for this removal, Freddie Mac

shows unto the Court the following:

lL. Freddie Mac is a named defendant in this action filed by RONALD
NIEPORTE on or about November 16, 2010 in the Macomb County Circuit Court. The
Complaint alleges various causes of action against Freddie Mac in connection with an
alleged wrongful eviction following a mortgage foreclosure sale pertaining to certain real
property located at 11073 Busch Ave. Warren, MI.

2. Freddie Mac is a United States corporation chartered by an Act of Congress
organized and existing under the Federal Home Loan Mortgage Corporation Act, 12 U.S.C.
$1451, et seq., with its principal place of business located in McLean, Virginia.

3, 12 U.S.C. §1452(f) provides that Freddie Mac “shall be deemed to be an
agency included in sections 1345 and 1442 of such title 28.” Section 1452(f) of Title 12
further provides, in pertinent part, that any civil action in a state court to which Freddie Mac
is a party may, at any time before trial, be removed to the United States District Court

embracing the place where the action is pending.

LAKarolyn\Richard. Welke\Nieporte, Ronald 227821 LOS\Notice Of Removal 3-9-2011.Final.Doc
2

 
Case 2:11-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.3 Page 3 of 69

 

 

4. 28 U.S.C. §1442(a) does not require Freddie Mac to notify or obtain the
consent of any other defendant in this action in order to remove the entire case to federal
court. See 28 U.S.C, §1442(a); Durham v Lockheed Martin Corp., 445 F. 3d 1247, 1253
(9"" Cir. 2006) (stating that “[w]hereas all defendants must consent to removal under section
1441...a federal officer or agency defendant can unilaterally remove a case under section
1442...) (citations omitted); Ely Valley Mines, Inc., v Hartford Accident & Indemnity Co.,
644 F. 2d 1310, 1315 (9" Cir. 1981) (stating that §1442 represents an exception to the
general rule (under §1441 and §1446) that all defendants must join in the removal petition).

5. Freddie Mac is a party to the State Court Action as referenced above, and no
trial of the action has yet taken place. The United States District Court for the Eastern
District of Michigan, Southern Division, is the federal judicial district and division
embracing the Macomb County Circuit Court, where this action was originally filed. See 28
U.S.C. §81(a)(3).

6. Freddie Mac is therefore entitled to remove that action to this Court. Copies
of all records and proceedings served upon this defendant in the State Court Action in the
Macomb County Circuit Court, County of Macomb, State of Michigan.

7. Concurrently with the filing of this Notice of Removal, by means of the
Notice of Filing of Notice of Removal filed in the State Court Action and attached hereto as
Exhibit A, Freddie Mac is giving written notice to all known parties, and to the Clerk of the
Macomb County Circuit Court, State of Michigan, of (i) this removal; (ii) the fact that this
case 1s to be docketed in this Court; and (iii) that this Court shall hereafter be entitled to
grant all relief to Freddie Mac as is proper under the circumstances, all in accordance with

12 U.S.C. §1452 and such local rules as may be applicable.

L:\Karolyn\Richard. Welke\Nieporte, Ronald 227821 LO5\Notice Of Removal 3-9-2011.Final.Doc

J

 
Case 2:11-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.4 Page 4 of 69

isi RichardWelke

Richard Welke (P44403)

TROTT & TROTT, P.C.

Attorney for Federal Home Loan
Mortgage Corporation

31440 Northwestern Hwy., Ste. 200
Farmington Hills, MI 48334

(248) 723-5072
rwelke@trottlaw.com

Dated: March 9, 2011
CERTIFICATE OF SERVICE
Sabrina R. Adams hereby certifies that on March 9, 2011, she mailed a copy of

| Notice of Removal and this Proof of Service via Federal Express to:

THE MORAN LAW FIRM DYKEMA GOSSETT PLLC
Valerie A. Moran, Esq. K.J. Miller, Esq.

Attorney for Plaintiff 2723 South State Street, Suite 400
115 N. Center Street, Suite 203 Ann Arbor, Michigan 48104

Northviile, MI 48167

HONIGMAN MILLER SCHWARTZ &
COHN

Gregory DeMarrs, Esq.

660 Woodward Avenue, Suite 2290
Detroit, Michigan 48226

J declare under the penalty of perjury that the statement above is true to the best of

my information, knowledge, and belief,

/s/ Sabrina R. Adams
Sabrina R. Adams, Legal
Assistant

Trott & Trott, P.C.

Dated: March 9, 2011

 

 

L:\Karolyn\Richard. Welke\Nieporte, Ronald 22782 1L05\Notice Of Removal 3-9-2011.Final.Doc
4

 
Case 2:11-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.5 Page 5 of 69

 

 

LAKarolyn\Richard, Welke\Nieporte, Ronald 227821 LOS\Notice Of Removal 3-9-2011.Final.Doc
5

 
Couptaeno: Public A epe6s G ERE PIREMASE No.1 filed 03/09/11 PagelD.6 Page 6 bts! of 2

 

2010-004940-CH NIEPORTE, RONALD vs. CITIMORTGAGE INC JCF

     

File Date 11/16/2010 Case Status Open Case Status Date 11/16/2010

SSS

Party Information

 

Attorney

Party Name Party Alias(es} Party Type Attormey(s) Phone
NIEPORTE, RONALD PLAINTIFF MORAN, VALERIE A
CITIMORTGAGE INC DEFENDANT MILLER, KATHRYN J
RAMIN, NASSEEM $
TROTT & TROTE PC a ae DEFENDANT WELKE, RICHARD
FEDERAL HOME LOAN DEFENDANT
MORTGAGE
CORPORATION
(FREDDIEMAC
GTJ LLC DEFENDANT MARR, JILL L

 

Case Schedule

 

Date Start Time Event Type Result

EARLY DISPOSITION SETTLEMENT

03/24/2011 03:00 AM CONFERENCE

 

 

 

Financial Entries

 

 

 

Receipt # Date Received From Amount Paid
428530 03/07/2011 CITIMORTGAGE 10,00
Payment Fee
CREDIT CARD AMX 10,00 FILING FEE 10,00
Receipt # Date Received From Amount Paid
423236 02/14/2041 NIEPORTE, RONALD 20,00
Payment Fee
Cash 20,00 MOTION FEE 20,00
Receipt # Bate Received From Amount Paid
402867 4116/2010 NIEPORTE, RONALD 235,00
Payment Fee
Check 235,00 FILING FEE 235,00

 

 

 

 

Docket Entries

Date Text
03/08/2011 DISCOVERY AND CASE EVALUATION ORDER ISSUED (N} DISCOVERY ORDER MAILED TO
RICRARD WELKE Sent on: 03/08/2011 14:19:16

 

 

 

 

http://macombcountymi.gov/pa/pages/CRTVCaseSummary.jsp?case_id=203285 13 3/9/2011

. Fe mete . . . -
Cougticw: Public feesges GERSSSHEMEGE No.1 filed 03/09/11 PagelD.7 Page 7 bts? of 2

03/07/2011 DISCOVERY AND CASE EVALUATION ORDER ISSUED (N) DISCOVERY ORDER MAILED TO JILL
MARR Sent on: 03/07/2011 11:15:53

03/04/2011 PROOF OF SERVICE

03/04/2011 AFFIRMATIVE DEFENSES _ Oe

03/04/2011 APPEARANCE (LITIGANT'S PRIMARY ATTORNEY) Attorney: WELKE, RICHARD (44403) TROTT &

TROTT PC (DEFENDANT);

03/04/2011 ANSWER (LITIGANT'S PRIMARY ATTORNEY) Attorney: WELKE, RICHARD (44403) TROTT &
TROTT PC (DEFENDANT);

03/04/2011 CERTIFICATE OF SERVICE

03/04/2011 AFFIRMATIVE DEFENSES .

03/04/2011 ANSWER (LITIGANT'S PRIMARY ATTORNEY) Attomey: MARR, JILL L. (67725) GTJ LLC
(DEFENDANT),

03/04/2011 FAX FILING FEE Receipt: 428530 Date: 03/07/2011

03/01/2011 PROOF OF SERVICE

03/01/2011 DEFENDANT CITIMORTGAGE INC'S FIRST REQUESTS FOR ADMISSION, INTERROGATORIES,
AND REQUESTS FOR PRODUCTION OF DOCUMENTS DIRECTED TO PLAINTIFF

02/28/2011 CERTIFICATE OF SERVICE

02/28/2011 DEFENDANTS GTJ,LLC. PRELIMINARY WITNESS LIST

02/23/2011 PROOF OF SERVICE

02/23/2011 DEFENDANT CITIMORTGAGE INC'S WITNESS LIST

02/14/2011 PROOF OF SERVICE

02/14/2011 PLAINTIFF'S EXHIBIT LIST

02/14/2011 PLAINTIFF WITNESS LIST

02/1 4/201 1 “AFFIDAVIT

02/14/2011 PLTF MTN FOR EXTENSION OF SUMMONS AS TO DEFT FREDDIE MAC

02/14/2011 MOTION FEE Receipt: 423236 Date: 02/14/2011

01/07/2011 (N) EVENT NOTICE SENT . . -

01/07/2011 EARLY DISPOSITION SETTLEMENT CONFERENCE SCHEDULED Event: EARLY DISPOSITION
SETTLEMENT CONFERENCE Date: 03/24/2011 Time: 8:00 am Judge: FOSTER, JOHN C Location:
COURTROOM SW - 4TH FLOOR _ -

12/30/2010 DISCOVERY & CASE EVAL ORDR SENT; CASE EVAL AFTR 4/29/11, S/D MTNS BY 7/28/11;
WITNSS LST DUE BY: PLTF 2/14/11, DEFT 2/28/11 VALERIE A. MORAN (Attorney) on behalf of
RONALD NIEPORTE (PLAINTIFF); NASSEEM S RAMIN (Attorney) on behalf of CITIMORTGAGE

— INC (DEFENDANT)

12/30/2010 DISCOVERY AND CASE EVALUATION ORDER ISSUED (N) DISCOVERY ORDER Sent on:
12/30/2010 09:50:12

| 12/28/2010 PROOF OF SERVICE

: 12/28/2010 AFFIRMATIVE DEFENSES

: 12/28/2010 ANSWER (LITIGANT'S PRIMARY ATTORNEY) Attorney: RAMIN, NASSEEM S (73513)

| . CITIMORTGAGE INC (DEFENDANT):

| “|| 42/21/2010 PROOF OF SERVICE

: 42/21/2010 NOTICE OF APPEARANCE (2)
7 42/21/2010 APPEARANCE (LITIGANT'S SECONDARY ATTORNEY) Attorney: RAMIN, NASSEEM S (73513)
__ CITIMORTGAGE INC (DEFENDANT); . .
12/21/2010 APPEARANCE (LITIGANT'S PRIMARY ATTORNEY) Attorney: MILLER, KATHRYN JEAN (62014)
CITIMORTGAGE INC (DEFENDANT);

12/21/2010 APPEARANCE (LITIGANT'S PRIMARY ATTORNEY) Attorney: RAMIN, NASSEEM S (73513)
CITIMORTGAGE INC (DEFENDANT)

12/10/2010 STIP/ORDER XTNDING DEFTS CITIMORTGAGE INC'S TIME TO ANSWER OR OTHERWISE
RESPOND -SGD

11/16/2010 EXHIBIT(S) ATTACHED TO COMPLAINT

11/18/2010 SUMMONS ISSUED **EXP 2-15-14"

14/16/2010 JURY DEMAND

11/16/2010 COMPLAINT/PETITION FILED

11/16/2010 JURY FEE Receipt: 402867 Date: 11/16/2010

11/16/2010 ENTRY FEE Receipt: 402867 Date: 11/16/2010

 

 

 

 

 

 

http://macombcountymi.gov/pa/pages/CRTVCaseSummary.jsp?case_1d=20328513 &xsl= 3/9/2011

_ fat —< can oa - —
 

 

 

 

Case 2:11-cv-10940-GER-PJK ECF No. 1 filed 03/09/11, PagelD.8 Page 8 of 69

 

i, Original - Court na + Plaintiff
Approved, SCAO - ae os ist copy - Defendant fe ard copy - Return
STATE OF MICHIGAN ee a CASE NO.
JUDICIAL DISTRICT
JUDICIAL CIRCUIT SUMMONS AND COMPLAINT

 

COUNTY PROBATE ; JO- Yadoe CH

Court address Court telephone no.

 

 

Plaintiff narne(s), address(es}, and telephone na(s). Defendant name(s), address(es}, and telephone no(s).
Rorald Nteporke vy ici e-cTre, 4 Foreign Conpornbe
Thoth Fe a Mithnan COnperatey
Federal Home Loan axe Core

GTS, Ue a, Michaen ls avhecd

Praintiff attorney, bar no., address, and telephone no. : aA 7
Yelerve Moran PSO4ER fi r tide compen

HB N, Cenber Shred She d03
Northete Mz H3/b7

OHS —~Fbs- Fe4CD I

SUMMONS | NOTICE TO THE DEFENDANT: In the name of the people af meet

1. You are being sued. ‘ . ;

2. YOU HAVE 24 DAYS after receiving this summons to file an answerwith the court “P28489- other party or to take
other Jawful action (28 days if you were served by mail or you were served outside tis Sfate). “oe

3. if you do not answer or take other action within the time allowed, judgment may be entered against you for the retief demanded
in the complaint.

Issued This summons expires Court cle
Ii-fly -1O 2A\S~t| 0 ua Daomugh

*This summons is invalic unless served on or before its expiration date.

  
  
  
   

i
Dt

 

  
 

 

 

 

 

 

 

instruction: The following is information thatis required to bein the caption of every complaintand is to be completed

by the plaintiff. Actual allegations and the claim for relief must be stated on adclitional complaint pages. and attached to this form.
Family Division Cases , =

Cl There isno other pending or resolved action within the jurisdiction of the family division ot circuit court involving the farnity or family
members of the parties. - “

[) An action within the jurisdiction of the family division of the circuit court involving the family or fatriily members softhe parties

 

 

has been previously filed in ae —— ce SOUrt,
The. action {J remains Cis no longer pending, The docket number and the judge assigned to-the action are:
Docket no. Judge Poa “BST no. |
ee

 

General Civil Cases
[_] There is ne other pending or resolved civil action arising out of the same transaction or occurrence as alleged in the complaint/
(1 A civil action between these parties or other parties arising out of the transaction or occurrence alleged in the complaint has

 

been previously filed in Court.
The action f}remains CJis no longer pending. The docket number and the Judge assigned to the action are:

 

Socket no. Jugge Bar no. |

[VENUE

Piaintiff(s) residence finclude city, township, or village)

 

 

 

Defendant(s) residence (include city, township, or village)

Place where action arose or business conducted

 

 

I declare that the complaint information above and attached 4 of my information, edge, and betief.

tft KLE_A DA ce D PElyt93

Dat ~Figpat 19 of alloreysplalnty A
If you require special accommodations to use the court because of disalt | iés, contact the couHt irfim Ley to make arrangements.

Mc ot (9/98) SUMMONS AND COMPLAINT mcr 2.102(B)(14}, MCR 2.104, MCR 2.105, MCR 2.107, MCR 2.113(C}(2)(a}, (b), MCR 3.2084)
COURT

 

 

 
 
 
   
Case 2:11-cv-10940-GER-PJK ECF No. 1 filed 03/09/11 Pao Page 9 of 69

m~,
STATE OF MICHIGAN
IN THE CIRCUIT COURT FOR THE COUNTY CF MACOMB
RONALD NIEPORTE,
‘Individually
Plaintifs lo-
-Vs.- CaseNo.~ Wiqio. CH
Hon.

CITIMORTGAGE INC.,

 

2 foreign profit corporation,
TROTT & TROTT, PC, A :
a Michigan corporation, at wo Ba
Federal Home Loan Mortgage Corporation
(Freddie Mac) P2851 89 a
GTI LLC, mets oo
a domestic limited liability company

Jointly and Severally,

Defendants.

 

VALERIE A. MORAN (P 56498) :

THE MORAN LAW FIRM ‘ rg

Attomey for Plaintiff te _

115 N. Center Street Suite 203 nee 77

Northville, MI 48167 4 oe

248-465-9400 Sans
f

teh

COMPLAINT AND JURY DEMAND
NOW COMES, the Plaintiff, RONALD NIEPORTE, by and through his attorney, VALERIE
A. MORAN and for his Complaint state as follows:
1, Plaintiff RONDALD NIEPORTE (NIEPORTE) is a resident of the County
of Macomb, State of Michigan.
2. Defendant, CITIMORTGAGE, INC CCITIMORTGAGE’), is upon
{ information and belief a foreign corporation conducting business in Macomb County,
Michigan.

3. Defendant TROTT & TROTT, P.C., (TROTT) is upon information and belief

 

 

 

 
 

Case 2:11-cv-10940-GER-PJK ECF No. 1 filed 03/09/11 PagelD.10 Page 10 of 69

a Michigan law firm, as well as, Michigan corporation conducting business in Macomb
County, Michigan.
4, Defendant GT] LLC (“GTY°), is upon information and belief a Michigan
limited liability company conducting business in Macomb County, Michigan.
5. Defendant, Federal Home Loan Mortgage Corporation (FREDDIEMAC), upon
information and belief was a government sponsored enterprise, now in governmental

receivership, conducting business in the County of Macomb, State of Michigan.

6. Plaintiff seeks an amount of damages over $25,000.00 as well as equitable relief.

7. The complained of injuries occurred within the County of Macomb, State of Michigan
thus jurisdiction and venue are proper before this Court.

GENERAL ALLEGATIONS

8. Plaintiff realleges and reincorporates each of the allegations contained in ail preceding
paragraphs as though fully restated herein.

9. Plaintiff was the owner of and had a certain piece of real property located at: 11073
Busch Ave. Warren Michigan. (Exhibit 1: Mortgage Exhibit 2: Deed}

10. While Plaintiff was the owner of the Property, he had granted a Mortgage to ABN
AMRO Mortgage Group, Inc. (Exhibit 1) that was subsequently assigned, bought or otherwise
transferred to Defendant Citimortgage and then subsequently assigned, bought or otherwise
transferred to Defendant, Freddiemac.

{1. Upon information and belief the mortgage loan was serviced by Defendant
Citimortgage.

12, Plaintiff fell behind on his Mortgage payments, and the above referenced property

 

 

 

wha a
op See
soa

|
Case 2:11-cv-10940-GER-PJK ECF No. 1 filed 03/09/11 PagelD.11 Page 11 of 69

was sold at Sheriff Sale on July 10, 2009 m a foreciosure by advertisement with the assistance of
Defendant Trott & Trott acting as their attomey.

13. The redemption period was to expire on January 10, 2010.

14. During the redemption period, Plaintiff occupied the property, which was his primary
residence. On November 17, 2009, while Plaintiff was away at work, iocks were removed and
changed at the property, the water was shut off and disconnected, all the pipes were drained, and
pipes as well as drains were treated with chemicals.

13. During the course of the illegal acts of Defendants, Plaintiff lost thousands of dollars
in tools and other personal property which were unlawfully removed from the property during

Defendants uniawful entry into the property and unlawful interference with Plaintiff's possessory

 

interest. Additionally, doors and locks at the property were removed or damaged in the course the of

removing and changing the locks and the chemicals placed in pipes and drains in the home emitted a

I
i
!
|
|
|
|
1
|
i

strong odor which penetrated Plaintiff's furniture, mattress, clothing and other personal items such
thal they could ne longer be used for their intended purpose and had to be thrown away.

16. The drains at the property were treated with chemicals which gave the entire property
a severe chemical odor.

L?. When Plaintiff later retrieved his belongings, the chemical ador in the property was
so strong it caused Plaintiff to suffersevere headaches and he could only be inside the home for shart
periods of time.

18. Upon information and belief, lock out, possessory interference and remova! of

 

personal property was carried out by Defendant GTI.

19. Upon information and belief these acts were at the direction of, or with the knowledge

tea

 

 

 
Case 2:11-cv-10940-GER-PJK ECF No. 1 filed 03/09/11 PagelD.12 Page 12 of 69

of, other Defendants.
20, Upen information and belief the lock outs committed by lenders and their servicing
companies, and agents often occur in mortgage foreclosures.
21. Inmortgage foreclosures, companies are often hired to act as “trash out” companies,
i.e. to go into homes that are not redeemed and remove and discard personal property, to change the
jocks on the properties,
22. ‘These companies often also “winterize” or complete “property preservation” of the
properties which inctudes shutting off heat, disconnecting the water to the property, draining the
pipes and pourmg antifreeze or other chemicals in the pipes, toilets and sinks at the property .
23. In this case, upon information and belief, Defendant GTJ was hired by the other
Defendants to “trash out” and/or change the locks, and/or “winterize” and/or complete “property
preservation” at the subject property.

ate,

24, The named Defendants regularly act in concert to perform “trash out,” “winterize” or
“property preservation” activities throughout the State of Michigan.
25, Upon information and belief all of the named Defendants regularly conduction such
post foreclosure actions in such a blatantly unlawful manner and act in concert to flagrantly
disregard Michigan law.
26. Upon information and belief Defendants pay all agents of theirs a flat fee regarding
the “trash outs” and allow the end entity completing the “trash out” to keep all items of
personal property removed from the subject premises, thereby creating an environment

conducive to the stealing and/or conversion of items of personal property owned by

individuals who have just been through a Mortgage Foreclosure.

 

 
Case 2:11-cv-10940-GER-PJK ECF No. 1 filed 03/09/11 PagelD.13 Page 13 of 69

COUNT -IJ- CONVERSION

27. Plaintiffs reallege and reincorporate the allegations contained in all preceding
paragraphs as though fully restated herein

28. As set forth fully in the preceding paragraphs, Plaintiff was the owner of numerous
items located at the Property, at the date that the Defendants and their agents broke into the
property.

29. Upon information and belief, Defendants, either individually, in concert with other
Defendants or at the direction of other Defendants wrongfully exerted dominion over the

Plaintiff's personal property in any of the following ways:

 

| a. intenttonally dispossessing another of said chattels
b, intentionally destroying or altering a chattel in the actor’s possession
|
| c. using a chattel in the actor’s possession without authority to use it
|
d. receiving a chattel pursuant to a sale, lease, pledge, gift, or other transaction
intending to acquire for himself or herself or for another a proprietary interest
in it
€. disposing of a chattel by a sale, lease, pledge. gift, or other transaction

intending to transfer a proprietary interest in it

f. misdelivering a chattel; and/or
g. refusing to surrender a chattel on demand
30, As aresult of these actions, Platntiffs have been damaged.

31, Plaintiff is entitled to treble damages pursuant to MCLA § 600.2919a.

WHEREFORE, Plaintiff requests that this Honorable Court enter judgment in his favor and
against all Defendants in an amount io be determined at trial, trebled as allowable by statute, plus

3

 

~

 

 

 

 

 
 

Case 2:11-cv-10940-GER-PJK ECF No. 1 filed 03/09/11 PagelD.14 Page 14 of 69

interest, costs and attomey fees incurred in this matter and that the court grant Plaintiff such other

and different relief as the court deems warranted.

COUNT Il- TRESPASS AS TO CHATTELS
32. Plaintiffs reallege and reincorporate the allegations contained in all preceding
paragraphs as though fully restated herein.
33. As set forth above, the actions of the Defendants, either individually, in concert with
other Defendants or at the direction of other Defendants were an intentional intermeddling

with a chattel in possession of Plaintiffs which resulted in the following:

a. Plaintiffs being dispossessed of some of his possessions;

b, Plaintiffs being deprived of the use of some of his possessions for a long
period of time;

c. Impairment of the condition, quality, usefulness of some of Plaintiffs

possessions; or
d. Harm to the possessions in. which Plaintiffs have a legally protected interest.

WHEREFORE, Plaintiff requests that this Honorable Court enter judgment in his favor and
against ali Defendants in an amount to be determined at trial, trebled as allowable by statute,
plus interest, costs and attorney fees incurred in this matter and that the court grant Plaintiffs

such other and different relief as the court deems warranted.

COUNT I - FORCIBLE EJECTION FROM LANDS
34, Plaintiff realleges and reincorporates the allegations contained in all preceding

paragraphs as though fully restated herein.

 

 

 
Case 2:11-cv-10940-GER-PJK ECF No. 1 filed 03/09/11 PagelD.15 Page 15 of 69

35. As set forth above, the actions of the Defendants, either individually, in concert with
other Defendants or at the direction of other Defendants was a forcible ejection of the Plaintiff
from his Property.

36. Plaintiff was damaged as a result of this ejection by the loss of a significant amount of
personal possessions that were removed from the Property, damage to items left in the
property such as Plaintiff's furniture, clothing and mattresses in that the chemical odor which
lingered in the fibers rendered them unusable.

37. Pursuant to MCLA § 600.2918 (1), any person who is ejected or put out of any lands
or tenements in a forcible and unlawful manner, or being out is afterwards held and kept out,
by force, if he prevails, is entitled to recover 3 times the amount of his actual damages or

$200.00, whichever is greater, in addition to recovering possession.

WHEREFORE, Plaintiff requests that this Honorable Court enter judgment in his favor
and against all Defendants in an amount to be determined at trial, trebled as allowable by statute,
| plus interest, costs and attorney fees incurred in this matter and that the court grant Plaintiffs such
other and different relief as the court deems warranted.
COUNT IV ~ CONCERT OF ACTION

38. Plaintiff realleges and reincorporates the allegations contained in all preceding

paragraphs as though filly restated herein.

39. Defendants acted in concert pursuant to a common design to illegally interfere and

dispossess Plaintiff of his real and personaf property.

40. Defendants, intentionally or recklessly acted to interfere and dispossess Plaintiff of

7s 7

al an

 

 
 

Case 2:11-cv-10940-GER-PJK ECF No. 1 filed 03/09/11 PagelD.16 Page 16 of 69

his real and personal property and to interfere with Plaintifi’s lawful possessory interest.

41, Defendants knew or should have known that their actions were illegal and would

cause damage to Plaintiff.

42, As a direct and proximate result of Defendants concert of action, Plaintiff has

suffered damages.

WHEREFORE, Plaintiff requests that this Honorable Court enter judgment in his favor
and against all Defendants in an amount to be determmed at trial, plus interest, costs and attomey
fees incurred in this matter, as well as exemplary damages for these outrageous acts and that the

court grant Plaintiffs such other and different relief as the court deems warranted,

Respectfully Submitted,

By: > Zag a4.)
}

ERIE A. MORAN (P 56488
THE MORAN LAW FIRM
Attorney for Plaintiff .
115 N. Center Street Suite 203
Northville, MI 48167
248-465-9400

  
   

November 12, 2010

 

af
 

Case 2:11-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.17 Page 17 of 69

oe

 

 

 

STATE OF MICHIGAN
IN THE CIRCUIT COURT FOR THE COUNTY OF MACOMB
RONALD NIEPORTE,
Individually

Plaintiff,

-V8.- Case» |
Hon.
CITIMORTGAGE INC.,
a foreign profit corporation,
TROTT & TROTT, P.C.,
a Michigan corporation,
Federal Home Loan Mortgage Corporation
(Freddie Mac}
GTI LLC,
2 domestic limited liability company
Jointly and Severally,
Defendants.
/
DEMAND FOR TRIAL BY JURY tee
; “4

NOW COMES the Plaintiff by and through his attorney of record, Valerie A. Moran,” a

and hereby demand a trial by jury in this matter.

Respectfully Submitted, “s

By. ae m >
. GEE A MORAN P te

THE MORAN LAW FIRM
Attorney for Plaintiff
115 N. Center Street Suite 203
Northville, Mi 48167
248-465-9400

November 12, 2010

 

4 Fe j

. Wan

 

 
 

Case 2:11-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.18 Page 18 of 69

Exhibit 1

 

 

me
 

 

Case 2:11-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.19 Page 19 of 69

514

tit 9449 PAGE 249
(et/200o 02542339 0.1

HRCORO COUNTY

CARMELLA SABAH REG/DEEDS

QUIT CLAIM DEED
STATUTORY FORM

Tit_e Company

becerron pam ane ivi wbunarcd Conbabr

 

 

 

KNOW ALL MEN &Y THESE PRESENTS: That BONNIE JEAN NIEPOARTE, a married woman,
RONALD HARRY NIEPORTE, a married man

whose address is 11073 BUSCH AVENUE, WARREN, MICHIGAN 48689
QuitClsim s to RONALD HARRY NIEPORTE, a married man,
whose addreggig 11073 BUSCH AVENUE, WARREN, MICHIGAN 48089

the (ollowing described premises situatedin lhe City of Warren County of Macomb
and State of Michigan, to-wit:

Lot 26, "RAY KIMBERELY SUBDIVISION", part of the N.E. 1/4 of
Section 22, T.1 N., R.12 E., Warren Township (now City of Warren)
Macomb County, Michigan. Recorded in Liber 38 of Plats, pages

1 & 2 of Macomb County Records.

More commonly known as: 11073 Busch Avenue
. Warren, Michigan 48089

together with all and singular the tenements, hereditaments and appurtenances thereunto belonging or
in anywise appertaining, for the sum of

$1.00. Exempt under MCL 207,505 {i}

Dated this 278 day of March 4Q00

Stoned in the presence of: Signed by:

e

 

 

 

 

RONALD HARRY NIEPORTE

 

 

 

STATE OF MICHIGAN
COUNTY oF Macomb fy 5S.

‘The foregoing instrument was acknowledged before me this__ 27s day of. March
2000 hy BONNIE JEAN NIEPORTE and RONALD HARRY NIEPORTE

 

 

 

NDY A. LESNEA Notary Pitblic,
Macomb County, Michigan
My Commission expires
When Recorded Return To: Send Subsequen! Tax Bills To: Drafted by: GEORGE £. MICHAELS,
RONALD H. NIEPORTE SAME

Business Address
21220 KELLY ROAD

EASTPOINTE, MI 48021

 

Tax Parcel # Recording Fee Revenue Stamps.
Case 2:11-cv-10940-GER-PJK ECF No. 1 filed 03/09/11 PagelD.20 Page 20 of 69

 

MORTGAGE

 

When recorded mail to;

ABN AMRO MORTGAGE GROUP, INC.
P.O. BOX 5064

TROY, MICHIGAN 48034
ATTN:+FINAL/TRAILING DOCUMEN'TS

This instrument was prepared by:

LOAN #1 637414089

 

[Space Above This Line For Recording Datal

 

 

DEFINITIONS

Words used in multiple sections at this document are defined below and other words are defined in Sections 3,11, 13
718, 20 and 21. Certain rules regarding the usage of words used in this document are also provided in Section 46,
{A) “Security Instrument” means this document, which is dated JuL¥ 23, 2003, together with all
| Riders to this document.

(B) “Borrower” is RONALD H NIEPORTE, AN UNMARRIED MAN.

 

 

Borrower's address is 11073 BUSCH
WARREN, ME 49089,

Borrower is the mortgagor under this Security Instrument.
(C) “Lender"is ASN AMRO MORTGAGE GROUP, INC.

 

Lender is a CORPORATION, organized and existing under the laws of
DELAWARE. Lender's address is 2600 W. BIG BEAVER
RD., TROY, MICHIGAN 48084.

i
:

Lender is the mortgagee under this Security Instrument.

(D) “Note” means the promissory note signed by Borrower and dated JuLy 23, 2003. The Note
states that Borrower owes Lender *4+++*+44+4e4+%444+ONE HUNDRED THIRTY TWO THOUSAND AND NO/100
RR OR RAR a A OR OR A AO POR dk ki ak eRe Dollars (U.S. $132,060.00 }

pius interest. Borrower has promised to pay this debtin regular Periodic Payments and to pay the debt in full not later
than AUGUST 1, 2033.

(E) “Property” means the property that is described below under the heading "Transfer of Rights in the Property.”
(F} “Loan” means the debt evidenced by the Note, plus interest, any prepayment charges and late charges due under
the Note, and all sums due under this Security Instrument, plus interest.

MICHIGAN--SIngle Family--Fannia Mae/Freddle Mac UNIFORM INSTRUMENT Form 3023 1/01 Initials:
© 1999-2002 Online Documents, tne, Page 1 of 9 MIUDEED 0211

 
 

Case 2:11-cv-10940-GER-PJK ECF No. 1 filed 03/09/11 PagelD.21 Page 21 of 69

7 LOAN #: 637414089
UNIFORM COVENANTS, Borfower and Lender covenant and agree as follows:

t. Payment of Principal, Interest, Escrow tems, Prepayment Charges, and Late Charges. Borrower shall pay
when due the principat of, and interest on, the debt evidenced by the Note and any prepayment charges and late charges

to Section 3. Payments due under the

forms, as selected by Lender: (a) cash; (b) money order, (c) certified check, bank check, treasurer’s check or cashier’s
check, provided any such check js drawn upon an institution whose deposits are insured by a federal agency,
instrumentality, or entity; or {d} Electronic Funds Transfer.

Payments are deemed received by Lender when received at the location designated in the Note or at such other
focation as may be designated by Lender in accordance with the notice provisions in Saction 15. Lender May return any
payment or partial payment if the payment or partial payments are insufficient to bring the Loan current, Lender may
accept any payment or partial payment insufficient to bring the Loan current, without waiver of any rights hereunder or
prejudice to its rights to refuse such payment or partial payments in the future, but Lender is not cbligated to apply such
payments at ihe time such payments are accepted. If each Periodic Payment is applied as of its scheduted due date,
then Lender need not pay interest on unappiied funds. Lender may hald such unapplied funds until Borrower makes
payment to bring the Loan current. If Borrower does nat do so within a reasonable period of time, Lender shall either
apply such funds or return them to Borrower. Itnot applied earlier, such funds will be applied tothe outstanding principal
balance under the Nete immediately prior to foreclosure. No offset ar claim which Borrower might have now or in the
future against Lender shall relleve Borrower from making payments due under the Note and this Security Instrument
or performing the covenants and agreements secured by this Security Instrument.

2. Applicatlon of Payments or Proceeds, Exceptas otherwise described in this Section 2, all payments accepted
and appiied by Lender shall be applied in the following order of priority: {a) interest due uncer the Note; (b) principal
due under the Nate; {c} amounts due under Section 3, Such payments shall be applied to each Periodic Payment in the
order in which itbecame due. Any remaining amounts shall be applied first to late charges, second to any other amounts
due under this Security Instrument, and then to reduce the principal balance of the Note.

If Lender receives a payment from Borrower for a delinquent Periodic Payment which Includes a sufficient amount
to pay any late charge due, the payment may be applied to the delinquent payment and the late charge, If more than
one Periodic Payment is outstanding, Lencer may apply any payment received from Borrower to the repayment of the
Periodic Payments if, and io the extent that, each payment can be paid in full. To the extent that any excess exists after
the payments applied to the full Payment of one or mare Periodic Payments, such excess may be applied to any late
charges due. Voluntary prepayments shall beapplied first to any prepayment charges and then as described in the Note,

Any application of payments, insurance proceeds, or Miscellaneous Proceeds ta pHincipal due under ihe Note shall
not extend or postpone the due date, or change the amount, of the Periodic Payments.

3. Ftinds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due under the Note,
until the Note is paid in full, a sum (the “Funds”) to provide for payment of amounts due far: (a) taxes and assessments
and other items which can attain priority over this Security Instrument as a Hen or encumbrance on the Property; (b)
leasehold payments or ground rents an the Property, #f any; (c} premiums for any and afl insurance required by Lender
under Section 5; and (a) Mortgage Insurance premiums, if any, or any sums payable by Borrower to Lender in lieu of
the payment of Mortgage Insurance premiums in accordance with the provisions of Section 10. These items are cailed
“Escrow Items.” Atarigination or at any time during the term of the Loan, Lender may require that Community Association
Dues, Fees, and Assessments, if any, be escrowed by Borrower, and such dues, fees ancl assessments shal! be an
Escrow Item. Borrower shall promptly furnish to Lender all notices of amounts to be paid under this Section, Borrower
shall pay Lender the Funds for Escrow Iterns unless Lender waives Borrower's obligation to pay the Funds far any or
all Escrow ttems. Lender may waive Borrower's obligation-ta pay to Lender Funds for any or all Escrow Items at any time,
Any such waiver may only be inwriting. In the event ofsuch waiver, Borrower shall pay directly, when and where payable,
the amounts due for any Escrow Item's far which payment of Funds has been waived by Lender and, if Lender requires,
shail furnish to Lender receipts evidencing such payment within such time period 2s Lender may require. Borrower's
obligation to take such payments and to provide receipts shall for alt purposes be deemed to be a covenant and
agreement contained in this Security Instrument, as the phrase “covenant and agreement” is used in Section 9, if
Borrewer is obligated to pay Escrow Items directly, pursuant to a waiver, and Borrower fails to pay the amount due for
an Escrow Item, Lender may exercise its rights under Section 9 and pay such amount and Borrower shail then be
obligated under Section 9 to repay to Lender any such amount. Lender may revoke the waiver as to any or all Escrow
Items at any time by a natice given in accordance with Section 15 and, upon such revocation, Borrower shall pay ta
Lender all Funds, and in such amounts, that are then required under this Section 3.

Lender may, at any time, collect and hold Funds in an amaunt (a) sufficient to permit Lender to apply the Funds at
the time specified under RESPA, and (b) not io exceed the maximum amounta lender can require under BESPA. Lender
shalt estimate the amount of Funds due on the basis of current data and reasonable estimates of expenditures of future
Escrow items or otherwise in accordance with Applicable Law.

The Funds shalt be held in an institution whose deposits are insured by a tederal agency, instru mentality, or entity
{including Lender, if Lender is an institution whose deposits are so insured} or in any Federal Home Loan Bank, Lender
shall apply the Funds to pay the Escrow Items no later than the time specified under RESPA. Lender shall nat charge
Borrower for holding and applying the Funds, annually analyzing the escrow accaunt, or verifying the Escrow items,
unless Lender pays Borrower interest on the Funds and Applicable Law permits Lender to make such acharge. Unless
an agreementis made in writing or Applicable Law requires interest to be paid on the Funds, Lendershallnotbe required
to pay Borrower any interest or earnings on the Funds. Borrower and Lender can agree in writing, however, that interest
shal be paid on the Funds. Lender shall give ta Borrower, without charge, an annuat accounting of the Funds as required
by RESPA,

If there is a surplus of Funds held in escrow, as detined uncer RESPA, Lender shall account to Borrower for the
excess funds In accordance with RESPA. If thereis a shortage of Funds held in escrow, as defined under RESPA, Lendar

MICHIGAN--Single Farnily--Fannle Mae/Freddle Mac UNIFORM INSTRUMENT Form 3023 1/01 Initials:
© 1999-2002 Online Documents, Inc. Page 3 of 9 MIUDEED
Case 2:11-cv-10940-GER-PJK ECF No. 1 filed 03/09/11 PagelD.22 Page 22 of 69

; oF : LOAN #: 637424089
shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make up the

.Shortage in accordance with RESPA, but in no more than 12 monthly payments, If there is a deficiency of Funds held In
escrow, as defined under RESPA, Lender shail notify Borrower as required by RESPA, and Borrower shall pay toLender the
amount necessary to make up the deficiency in accordance with RESPA, but in no more than i2 monthly payments.

Upon payment in full of all sums secured by this Security Instrument, Lender shalt promptly refund to Borrower any
Funds held by Lender,
4, Charges; Liens, Borrower shall pay ail taxes, assessments, charges, fines, and impositions attributable to the

Properly which can attain priority over this Security instrument, leasehold payments or ground rents on the Property,

ifany, and Community Association Dues, Fees, and Assessments, ifany. To the extent that these items are Escrow tems,
Borrower shal! pay them in the manner provided in Section 3.

Borrower shall promptly discharge any lien which has prierity over this Security Instrument unless Borrower: fa)
i agrees in writing to the payment of the abiigation secured by the lien In a manner acceptable to Lender, butonly so long
' as Borrower is performing such agreement; (b) contests the lien in good faith by, or defends against enforcement of the
lien in, jegal proceedings which in Lender's opinion operate to prevent the enforcement of the fien while those
proceedings are pending, but only until such proceedings are concluded; or (c) secures from the holder of the lien an
agreement satisfactory to Lender subordinating the lien to this Security Instrument. If Lender determines that any part
of the Property is subject to a lien which can attain priority aver this Security instrument, Lender may give Borrower a
notice identifying the tien. Within 10 days of the date on which that notice js given, Borrawer shall satisfy the lien or take
one or more of the actions set forth above in this Section 4.

. Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting service used
by Lender in connection with this Loan.

5. Property Insurance. Borrower shall keep the improvements now existing or hereafter eracted on the Property
insured against loss by fire, hazards included within the term “extended coverage,” and any other hazards including,
but nat limited to, earthquakes and floods, for which Lender requires insurance. This insurance shall be maintained in
the amounts (including deductible levels} and for the periods that Lender requires. What Lender requires pursuant to
the preceding sentences ean change during the term of the Loan. The insurance carrier providing the insurance shai
be chosen by Borrower subject to Lender’s right to disapprove Borrower's choice, which right shall not be exercised
unreasonably. Lender may require Borrower to pay, in connection with this Loan, either: (4) a one-time charge for flood
: zone determination, certification and tracking services: or ({b) a one-time charge -for flood zone determination and
"certification services and subsequent charges each time remappings or simifar changes occur which reasonably might
: affect such determination or cenification. Borrower shail also be responsible for the payment of any fees imposed by
the Federal Emergency Management Agency in connection with the review of any flood zone determination resulting
from an objection by Borrower.

If Borrower fails to maintain any of the coverages described above, Lender may obtain insurance caverage, at
Lender's option and Borrower's expense, Lender is under no obligation to purchase any particular type or amount of
coverage. Therefore, such coverage shail cover Lender, but might or might not protect Borrower, Borrower's equity in
the Property, or the contents of the Property, against any risk, hazard or liability and might provide greater or lesser
coverage than was previously in effect. Borrower acknowledges that the cost of the insurance coverage so obtained
might significantly exceed the cost of insurance that Borrower could have obtained. Any amounts disbursed by Lender
under this Section 5 shall become additional debt of Borrower secured by this Security Instrument. These amounts shall
bear interest at the Note rate from the date of disbursement and shall be payable, with such interest, upon notice fram
Lender te Borrower requesting payment.

All insurance policies required by Lender and renewals of stich policies shall be subject to Lender's right to
disapprove such policies, shalt include a standard mortgage clause, and shall name Lender as mortgagee and/or as
an additional loss payee. Lender shail have the right to hold the policies and renewal certificates. If Lender requires,
Borrower shail promptly give to Lender all receipts of paid premiums and renewal notices. If Borrower obtains any farm
of insurance coverage, not otherwise required by Lender, for damage to, or destruction of, the Froperty, such policy shall
include a standard mortgage clause and shall name Lender as mortgagee and/or as an additional loss payee.

In the event of loss, Borrower shail give prompt notice to the insurance carrier and Lender, Lender may make proof
of loss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree In writing, any insurance
proceeds, whether or not the underlying insurance was required by Lender, shall be applied to restoration or repair of
the Property, ifthe restoration or repairis economically feasible and Lender's security is nottessened, During such repair
and restoration period, Lender shall have the right to hold such insurance proceeds until Lender has had an opportunity
to inspect such Property to ensure the work has been completed to Lender's satisfaction, provided that such inspection
shall be undertaken promptly. Lender may disburse proceeds for the repairs and restoration in a single payment or in
a series of pragress payments as the work is completed. Unless an agreement is made in writing or Applicable Law
requires interest to be paid on such insurance proceeds, Lender shall nat be required to pay Barrower any interest or
earnings on such proceeds. Fees for public adjusters, or other third parties, retained by Borrower shat! not be paid out
of the insurance preceecs and shall be the sole obligation of Borrower. If the restoration or repair is net economically
feasible or Lender's security would be lessened, the insurance proceeds shall be applied to the sums secured by this
Security lnstrument, whether or not then dus, with the excess, if any, paid to Borrower. Such insurance proceeds shall
be applied in the order provided for in Section 2,

If Borrower abandons the Property, Lender may file, negotiate and settle any available insurance claim and related
matters. If Borrower does not respond within 30 days to a notice from Lender that the insurance carrier has offered to
settle a claim, then Lender may negotiate and settle the claim, The 30-day period will begin when the notice is given.
In either event, or if Lender acquires the Property under Section 22 or otherwise, Borrower hereby assigns to Lender
{a} Borrower's rights to any insurance proceeds in an amount not to exceed the amounts unpaid under the Note or this
Security Instrument, and (b) any other of Borrower's rights (other than the right to any refund of uneamed premiums
paid by Borrower) under all insurance policies covering the Praperty, Insofar as such rights are agplicable to the
coverage of the Property. Lender may use the insurance proceeds either to repair or restore the Property or to pay
amounts unpaid under the Note or this Security Instrument, whether or not then due.

 

 

MICHIGAN-—Single Family-Fannlo Maa/Fraddla Mac UNIFORM [INSTRUMENT Form 3023 1/01 Initials:
© 1999-2002 Online Documents, Inc. Page 4of 9 MIUDEEC

 
Case 2:11-cv-10940-GER-PJK ECF No. 1 filed 03/09/11 PagelD.23 Page 23 of 69

io . LOAN #: 637414089
5. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower's principal residence within

60 days after the execution of this Security Instrument and shall continue te occupy the Property as Borrower's principal
residence for at least ona year after the date of occupancy, unless Lender otherwise agrees in writing, which consent
shall not be unreasonably withheld, or unless extenuating circumstances exist which are beyond Borrower's contral.
; 7. Preservation, Maintenance and Protection of the Pra perty; Inspections, Borrower shall not destroy, damage or
impair the Property, allow the Property to deteriorate or commit waste on the Property. Whether or not Borrower is residing
inthe Property, Borrowershallmaintain the Property in order to prevent the Property from deteriorating or decreasing in value
due to jis condition. Unless it is determined pursuant to Section § that repair or resteration is not economically teasibie,
Borrower shalt promptly repair the Property if damaged to avoid further deterioration or damage. If insurance or
condemnation proceeds are paid in connection with damage to, or the taking of, the Property, Borrower shallbe responsible
forrepairing or restoring the Property only ifLenderhas released proceeds forsuch purposes. Lender may disburse proceeds
for the repairs and restoration in a single payment or in a series of Progress payments as the work is completed. If the
insurance or condemnation proceeds are notsufficientto repair or restore the Property, Borroweris not relieved of Borrower's
obligation for the compietion of such repair or restoration.

Lender or its agent may make reasonable entries upon and inspections of the Property, Ifithas reasonable cause,
Lender may inspect the interior of the improvements on the Property, Lender shall give Borrower notice at the time of
or prior to such an interior inspection specifying such reasonable cause,

4. Borrower’s Loan Application. Borrower shall be in default if, during the Loan application process, Borrower
or any persons or entities acting at the direction of Borrower or with Borrower's knowledge or consent gave materially
lalse, misteading, or inaccurate information or statements to Lender (or failed to provide Lender with material information)
in connection with the Loan. Material representations include, but are not limited to, representations conceming
Borrower's occupancy of the Property as Borrower's principal residence,

%. Protection of Lender's Interest jn the Property and Rights Under this Security Instrument. If (a) Borrower
fails to perform the covenants and agreements contained in this Security Instrument, (6) there is a legal proceeding that
might significantly affect Lender's interest in the Property and/or rights under this Security Instrument {such as a
proceeding in bankruptcy, probate, for condemnation er forfeiture, for enforcement of a lien which may attain priority
over this Security Instrument or to enforce laws or regulations), or {c} Borrower has abandoned the Property, then Lender
ray do and pay for whatever is reasonable or appropriate to protect Lender's interest in the Property and rights under
this Security Instrument, including pratecting and/or assessing the value ofthe Property, and securing and/or repairing
the Property, Lender’s actions can include, but are notlimited to: {a} paying any sums secured by alien which has priority
over this Security Instrument; {b} appearing In court; and {c) paying reasonable attomeys’ fees to protect its interest in
the Property and/or rights under this Security instrument, including its secured position in a bankruptey proceeding.
Securing the Property includes, but is not limited ta, entering the Property ta make repairs, change locks, replace or
board up doors and windows, drain water from pipes, eliminate building or other code violations or dangerous
conditions, and have ulilities turned on or off, Although Lender may take action under this Section 9, Lender does not
have to do so and is nat under any duty or obligation to do so, it is agteed that Lender incurs no fiability for not taking
any or all actions authorized under this Section 9.

Any arnounts disbursed by Lender under this Section 9 shall bacome additional debt of Borrower secured by this
Security Insuument, These amounts shall bear interest at the Note rate from the date of disbursement and shall be
payable, with such interest, upon notice from Lender to Borrower requesting payment.

ifthis Security Instrumentis on a téasehold, Borrower shall comply with ali the provisions of the lease, Borrower shall
net surrender the leasehold estate and interests herein conveyed or terminate orcancelthe ground lease. Borrower shall
not, without the express written consent of Lender, alter or amend the ground lease. It Borrower acquires fee fitle to the
Property, the leasehold and the fee title shall not merge unless Lencer agrees to the merger in writing.

10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan, Borrower shalt
pay the premiums required to maintain the Mortgage Insurance in effect, If, far any reason, the Mortgage Insurance
coverage required by Lender ceases to be available from the mortgage insurer that previously provided such insurance
and Borrower was required to make separately designated payments toward the premiums for Mortgage Insurance,
Borrower shall pay the premiums required to obtain caverage substantially equivalent to the Mortgage Insurance
previcusly in effect, at a cost substantially equivalent to the cost to Borrower of the Mortgage Insurance previously in
effect, from an alternate mortgage insurer selected by Lender. If substantially equivalent Morigage Insurance coverage
is not available, Borrower shail continue to pay to Lencler the amount of the separately designated payments that were
due when the insurance coverage ceased ta be in effect. Lender will accept, use and retain these payments as a non-_
refundable loss reserve in lieu of Mortgage Insurance, Such loss reserve shall be non-refundable, notwithstanding the
fact that the Loan Is ultknately paid in full, and Lender shall not be required te pay Borrower any interest or earnings on
such loss reserve. Lender can no longer require lass reserve payments if Mostgage Insurance coverage (in the amount
and for the period that Lender requires) provided byan insurer selected by Lender again becomes available, is obtained,
and Lender requires separately designated payments toward the premiums for Mortgage Insurance. If Lender required
Mortgage Insurance as a condition of making the Loan and Borrower was required to make separately designated
payments toward the premiums for Mortgage Insurance, Borrower shall pay the premiums required to maintain
Mortgage Insurance in effect, or to provide a non-refundable loss reserve, until Lender's requirement? for Mortgage
Insurance ends in accordance with any written agreement between Borrower and Lender providing for such termination
or until termination is required by Applicable Law. Nothing in this Section 10 affects Borrower's obligation to nay interest
at the rate provided in the Note.

Mortgage insurance reimburses Lender (or any entity that purchases the Note) for certain tosses it mey incur if
Borrower does not repay the Loan as agreed. Borrower is nat a party to the Mortgage Insurance. ;

Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may enter inta
agreements with other parties that share or modify their risk, or reduce losses. These agreements are on terms and
conditions that are satisfactory to the mortgage insurer and the other parly (or parties) to these agreements. These
agreements may require the mortgage insurer to make payments using any source of funds that the morgage insurer
may have available (which may include funds obtained from Morgage insurance premiums).

 

 

MICHIGAN--Single Famlly—Fannls Mae/Freddie Mac UNIFORM INSTRUMENT = Form 3023 1/07 Initials:
© 1999-2002 Online Documents, Inc. Page 5 of 9 MIUDEED

 
Case 2:11-cv-10940-GER-PJK ECF No. 1 filed 03/09/11 PagelD.24 Page 24 of 69

woot 7 LOAN #: 637414089
As a result of these agreements, Lender, any purchaser of the note, another insurer, any reinsurer, any other entity, or
-Afifiate of any of the foregoing, may receive (directly or indirectly) amounts that derive fram (or might be characterized as)
a portion of Borrower's payments for Mortgage insurarice, in exchange for shating or modifying the mortgage insurer's risk,
or reclucing losses, if such agreement provided that an affiliate of Lender takes a share of the insurez's tisk in exchange for
a share of the premiums paid to the insurer, the arrangement is often termed “captive reinsurance.” Further:

(a} Any such agreements will not affect the amounts that Borrower has agreed to pay for Mortgage
insurance, or any other terms of the Loan. Such agreaments will not Increase the amount Borrower will owe far
Mortgage Insurance, and they will not entitle Borrower to any refund.

(b) Any such agreements wilf not affect the rights Borrower has - If any - with respect to the Mortgage
Insurance under the Homeowners Protectlon Act of 1998 orany other law. These rights may Include the right to
recelve certain disclosures, to raquest and obtain cancellation of the Mortgage insurance, to have the Mortgage
insurance terminated automatically, and/or to receive a refund of any Mortgage Insurance premiums that were
unearned at the tlme of such cancellation or termination.

11, Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby assigned to and
shall be paid to Lender,

if the Property is damaged, such Miscellaneous Proceeds shail ba applied to restoration or repair of the Property,
if the restoration or repair is economically feasible and Lender's security is not lessened. During such repair and
restoration period, Lender shall have the right to hold such Miscellaneous Proceeds until Lender has had an opportunity
to inspect such Property to ensure the work has been completed to Lender's satisfaction, provided that such inspection
shalt be undertaken promptly. Lender may pay for the repairs and restoration in a single disbursement or ina serjes of
progress payments as the work is completed. Unless an agreementis made in writing or Applicable Law requires interest
to be paid on such Miscellaneous Proceeds, Lender shall not be required ta pay Borrower any interest or earings on
such Miscellaneous Proceeds. Hf the restoration or repair is not economically feasible or Lender's security would be
lessened, the Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument, whether or net
then due, with the excess, if any, pald to Borrower. Such Miscellaneaus Proceeds shall be apptied in the order provided
for in Section 2,

in the eventot atotaltaking, destruction, or toss in value of the Property, the Miscellaneous Proceeds shall be applied
io the sums secured by this Security instrument, whether or not then due, with the excess, if any, paid to Borrower.

Inthe event ofa partial taking, destruction, or oss in value ofthe Property in which the fair market value of the Property
immediately before the partial taking, destruction, or Joss in value is equal to or greater than the amount of the sums
secured by this Security instrument immediately before the partiat taking, destruction, or loss in value, unless Borrower
and Lender otherwise agree in writing, the sums secured by this Security instrument shall be reduced by the amount
‘ of the Miscellaneous Proceeds multiplied by the following fraction: (a} the total amount of the sums secured immediately

before the partial taking, destruction, or foss in value divided by (b) the fair market value of the Property immediately
before the partial taking, destruction, or loss in value. Any balance shail be pai¢ to Sorrower.

Inthe event ofa partial taking, destruction, or loss in value ofthe Property in which the fair market value ofthe Property
immediately before the partial taking, clestruction, or loss in value is less than the amount of the sums secured
immediately before the partial taking, destruction, or loss in value, unless Borrower and Lender otherwise agree In
writing, the Miscellaneous Proceeds shail be applied to the sums secured by this Security Instrument whether or not
the sums are then cue.

lithe Property is abandoned by Borrower, or if, after notice by Lender to Borrowerthat the Opposing Party (as defined
in the next sentence) offers ta make an award to settle a claim for damages, Borrower fails te respond to Lender within:
30 days after the date the notice is given, Lender is authorized to collect and apply the Miscellaneous Proceeds either
to restoration or repair of the Property or to the sums secured by this Security Instrument, whether or not then due.
“Opposing Party" means the third party that owes Borrower Miscellaneous Proceeds or the party against whom
Borrower has a right of action in regard to Miscellaneous Proceeds,

Borrower shall be in defaultif any action or proceeding, whether civil or criminal, is begun that, in Lender's judgment,
could result in forfeiture of the Property ar other material impairment of Lender's interest in the Property or rights under
this Security instrument. Borrower can cure such a default and, if acceleration has occurred, reinstate as provided in
Section 19, by causing the action or proceeding to be dismissed with a ruling that, in Lender's judgment, prectudes
forfeiture of the Property or other material impairment of Lender's interest in the Property or rights under this Security
Instrument. The proceecs of any award or claim for damages that are attributable to the impairmentof Lender's interest
in the Property are hereby assigned and shail be paid to Lender.

; All Miscellaneous Proceeds that are not applied to restaration or repair of the Property shall be applied in the arder
| provided for in Section 2.

: 12, Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time far payment or
modification of amortization of the sums secured by this Security Instrument granted by Lender to Borrower or any
Suecessor in Interest of Borrower shall not operate to release the liability of Borrower or any Successors in Interest of
Borrower. Lender shall net be required to commence proceedings against any Successor in Interest of Borrower or to
reiuse to extend time for payment or otherwise modify amortization of the sums secured by this Security instrument by
reason of any demand made by the original Borrower or any Successors in interest of Borrower, Any forbearance by
Lender in exercising any right or remedy including, without limitation, Lender's acceptance of payments from third
persons, entities or Successors in Interest of Borrower ar in amounts less than the amount then due, shallnotbea waiver
of or preclude the exercise of any right or remedy.

13, Joint and Several Liabillty; Co-slgners; Successors and Assigns Bound. Borrower covenants and agrees
that Borrower's obligations and liability shall be joint and several, However, any Borrower whe co-signs this Security
Instrument but does not execute the Note (a "co-signer’}: (a) is co-signing this Security Instrument only to mortgage,
grantand convey the co-signer's interest in the Property under the terms of this Security Instrument; (b) is not personally
obligated to pay the sums secured by this Security Instrument: and (c) agrees that Lender and any other Borrower can
agree te extend, madify, forbear or make any accommodations with regard to the terms of this Security Instrument or
the Note without the co-sianer's consent.

 

 

 

MISHIGAN--Single Femily--Fannle Mae/Freddic Mac UNIFORM INSTRUMENT Form 3023 1/01 Initials:
© 1999-2602 Online Dacurnents, Inc. Page 6 of 9 MIUDEED

 
Case 2:11-cv-10940-GER-PJK ECF No. 1 filed 03/09/11 PagelD.25 Page 25 of 69

- 7 i LOAN #: 637414089
Subject to the provisions of Section 18, any Successor in Interest of Borrower whe assumes Borrawer’s obligations

under this Security instrument in writing, and is approved by Lender, shall obtain all of Borrower's fights and benefits
under this Security Instrument. Borrower shall not be released from Borrower's obligations and liability under this
Security Instrument unless Lender agrees to such release in writing. The covenants and agreements of this Security
Instrument shall bind (except as provided in Section 20) and benefit the successors and assigns of Lender,

14, Loan Charges. Lender may charge Borrowerees for services performed in cannection with Borrower's default, far
the purpose of protecting Lender’s interest in the Property and rights under this Security Instrument, including, butnotlimited
to, attorneys’ fees, property inspection and valuation fees. In regard to any other fees, the absence of express authority in
this Security Instrument to charge a specific fee to Borrower shall not be construed as a Prohibition on the charging of such
fee. Lender may not charge fees that are expressly prohibited by this Security Instrument or by Applicable Law.

i Hthe Loanis subjectto a law which sets maximum toan charges, and that law is finally interpreted so that the interest
or other Jaan charges collected or to be collected in connection with the Loan exceed the permitted limits, then: (a) any
such loan charge shall be reduced by the amount necessary to reduce the charge to the permitted limit; and {) any
sums already collected from Borrower which exceaded permitted limits will be refunded to Borrower. Lender may choose
to make this refund by reducing the principal owed under the Note or by making a direct payment to Borrower. |fa refund
reduces principal, the reduction will be treated as a partial prepayment without any prepayment charge (whether ar not
a prepayment charge is provided for under the Note), Borrower's acceptance of any such refund made by cirect
paymentto Borrower will constitute a waiver of any right cf action Borrewer mighi have arising out of such overcharge.

15, Notices. Allnatices given by Borrower or Lender in connection with this Security Instrument must bein writing,

Any notice to Borrower in connection with this Security Instrumentshall be deemed to have been given te Borrower when
mailed by first class mail or when actually delivered to Borrower's natice address if sent by other means. Notice to any
one Borrower shail constitute notice to all Borrowers unless Applicable Law expressly requires otherwise, The notice
address shall be the Property Address uniess Borrower has designated a substitute notice address py notice to Lender,
Borrower shall promptly notify Lender of Borrower's change of address. If Lender Specifies a procedure for reporting
Borrower's change of address, then Borrower shall only report a change of address through that specified procedure,
There may be only one designated notice address tinder this Security Instrument at any one time, Any nolise to Lender
shall be given by delivering it or by mailing it by first class mail to Lender's address stated herein unless Lender has
designated another address by notice to Borrower, Any notice in connection with this Security Instrument shail not be
: deemed to have been given to Lender until actuatly received by Lender, Ifany notice required by this Security Instrument
i is also required under Applicable Law, the Applicable Law requirement will satisfy the correspanding requirementunder
i this Security Instrument.
: 16, Governing Law; Severability; Rules of Construction. This Security Instrument shall be governed by fecieral
law and the law of the jurisdiction in which the Property is located. All rights and obligations contained in this Security
Instrument are subject to any requirements and limitations of Applicable Law. Applicable Law mightexplicitly or implicitly
allow the parties to agree by contract or it might be silent, but such silence shall not be construed as a prohibition against
agreement by contract. In the event that any provision or clause of this Security Instrument or the Note conflicts with
! Applicable Law, such conflict shall not affect other provisions of this Security Instrument or the Note which can be given
: effect without the confficting provision.

As used in this Seeurity Instrument: (a) words ofthe masculine gender shall mean and inctude corresponding neuter
words or words of the feminine gender; (b) wards in the singular shall mean and include the plural and vice versa: and
(c} the word “may” gives sole discretion withaut any obligation to take any action.

17, Borrower's Copy. Borrower shall be given one copy of the Note and of this Security Instrument.

18. Transfer of the Property or a Beneficial Interest in Borrower. As usec in this Section 18, "Interest in the
Property” means any legal or beneficial interest in the Preperty, including, but not limited to, those beneficial interests
transferred in a bond for deed, contract for deed, installment sales contract or escrow agreement, the intent of which
is the transfar of title by Barrower at a future date to a purchaser.

it all or any part of the Property or any Interest in the Property is sold or transferred for if Borrower is not a natural
person and a beneficial interest in Borrower is sold or transferred) without Lender’s prior written consent, Lender may
require immediate payment in full of all sums secured by this Security Instrument However, this option shall not be
exercised by Lender if such exercise is prohibited by Applicable Law,

lf Lender exercises this option, Lender shall give Borrower notice of acceleration, The notice shall provide a period
of not less than 30 days from the date the notice is given in accordance with Section 15 within which Borrower must pay
all sums secured by this Security Instrument. If Borrower fais to pay these sums prior to the expiration af this period,
Lender may invoke any remedies permitted by this Security instrument without further notice or demand an Borrower.
i 19. Borrower's Right to Reinstate After Acceleration. If Borrower meets certain conditions, Borrower shall have
| the right to have enforcement of this Security Instrument discontinued at any time prior to the earliest of: (a) five days
i before sale of the Property pursuant to any power of sale contained in this Security instrument: (b) such other period
as Applicable Law might specify for the termination of Borrower's right to reinstate; or (c} entry of a judgment enforcing
this Security Instrument. Those conditions are that Borrower: (a) pays Lender ali sums which then would be due under
this Security Instrument and the Note as if no acceleration had eccurred; (b} cures any detault of any other covenants
or agreements; (c) pays all expenses incurred in enforcing this Security Instrument, including, but nat limited to,
reasonable attorneys' fees, property inspection and valuation fees, and other fees incurred for the purpose af protecting
Lender's interest in the Property and rights under this Security Instrument; and (cd) takes such action as Lender may
reasonably require te assure that Lender’s interest in the Property and rights under this Security instrument, and
Borrower's obligation to pay the sums secured by this Security Instrument, shalt continue unchanged. Lender may
require that Borrower pay such reinstatement sums and expenses in one or more of the following forms, as selected
by Lender: (a) cash; (b) money order; (c} certified check, bank check, treasurer's check or cashier's check, provided
any such check is drawn upon an institution whose deposits are insured by a federal agency, instrumentality or entity;
or (dj Electronic Funds Transfer. Upon reinstatement by Borrower, this Security Instrument and obligations secured
hereby shall remain fully effective as if no acceleration had occurred. However, this right to reinstate shall nat apply in
the case of acceleration under Section 18.

 

 

 

 

 

|
i
|

 

MICHIGAN-Singia Famfly-Fannle Maa/Freddie Mac UNIFORM INSTRUMENT Form 3023 1/01 Initials:
© 1999-2002 Online Gocumants, Inc. Page 7 of 9 MILDEEG

 

wie
Case 2:11-cv-10940-GER-PJK ECF No. 1 filed 03/09/11 PagelD.26 Page 26 of 69

hony . LOAN #: 637414089
20. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note Or @ partial interest in the Note

. (together with this Security Instrument) can be sald one or more times without prior notice to Borrower. A sale might
“ result in a change in the entity (known as the "Loan Servicer’) that callects Periodic Payrnents due under the Note and
. this Security Instrument and performs other mortgage loan servicing obligations under the Note, this Security
Instrument, and Applicable Law. There also might be one or more changes of the Laan Servicer unrelated to a sale of
the Note, If there is a change of the Loan Servicer, Borrower will be given written notice of the change which will state
the name and address of the new Loan Servicer, the address to which payments should be made and any other
information RESPA requires in connectian with a notice of transfer of servicing, Ifthe Note is sold and thereafter the Loan
is serviced by a Loan Servicer other than the purchaser of the Note, the mortgage loan servicing obligations to Borrower
will remain with the Loan Servicer or be transferred ta a successor Loan Servicer and are not assumed by the Note
purchaser unless otherwise provided by the Note purchaser.

Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either an individual litigant
or the member of a class) that arises fram the other party's actions pursuant to this Security Instrument or that alleges
that the other party has breached any provision of, or any duty owed by reason of, this Security instrument, untit such
Borrower or Lender has notified the other party (with such notice given in compliance with the requirements of Section
15} of such alteged breach and afforded the other party hereto a reasonable period after the giving of such notice to
take corrective action. if Applicable Law provides a time period which must elapse before certain action can be taken,
that time period will be deemed to be reasonable for purposes of this paragraph. The notice of acceleration and
opportunity to cure given ta Borrower pursuant to Section 22 and the notice of acceleration given to Borrower pursuant
to Section 18 shall be deemed to satisfy the notice and opportunity to take corrective action provisions of this Section
20,

21. Hazardous Substances, As used in this Section 21: {a} "Hazardous Substances" are those substances defined

as toxic or hazardous substances, pollutants, or wastes by Enviranmental Law and the following substances: gasoline,
kerosene, other flammable or toxic petroleum products, toxic pesticides and herbicldes, volatile solvents, materials
containing asbestos or formaldehyde, and radioactive materials; (b) “Enviranmentai Law" means federal laws and laws
| of the Jurisdiction where the Property is located that relate to health, safety or environmental protection; (c)
“Environmental Cleanup" inclucles any response action, remedial action, of removal action, as defined in Environmental
Law; and (qd) an “Environmental Condition” means a condition that can cause, contribute to, or otherwise trigger an
| Environmental Cleanup, . .
Borrewer shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous Substances,
or threaten to release any Hazardous Substances, on or in the Property. Borrower shall not do, nor allow anyone else
ta do, anything affecting the Property (a) thatis in viclation of any Environmentat Law, (b) which creates an Environmental
i Condition, or (c) which, due to the presence, use, or release of a Hazardous Substance, creates a condition that
adversely affects the value af the Property. The preceding two sentences shall not apply to the presence, use, or storage
on the Property of small quantities of Hazardous Substances that are generaily recognized ta be appropriate ta normal
residential uses and to maintenance of the Property (inchuding, but not timited to, hazardous substances in consumer
products},

Borrower shall promptly give Lender written notice of {a} any investigation, claim, demand, lawsuit or other action
‘by any governmental or regulatory agericy or private party involving the Property and any Hazardous Substance or
Environmental Law of which Borrower has actual knowledge, (b) any Environmental Condition, including but not limited
to, any spilling, leaking, discharge, release or threat of release of any Hazardous Substance, and {c} any condition
caused by the presence, use or release of a Hazardous Substance which adversely affects the value af the Property.
if Borrower learns, or is notified by any governmental or regulatory authority, or any private party, that any removal or
other remediation of any Hazardous Substance affecting the Property is necessary, Borrower shalt promptly take alt
necessary remedial actions in accordance with Environmental Law. Nothing herein shall create any obligation on Lender
for an Environmental Cleanup.

 

NON-UNIFORM COVENANTS, Borrower and Lender further cavenant and agree as follows:

22. Acceleration; Remedies. Lender shail give notice to Borrower prior to acceleration following Borrower's
breach of any covenant or agreemont In this Security Instrument (but not prior to acceleration under Section 18
unless Applicable Law provides otherwise). The notice shall specify: (a) the default; (b) the action required to
cure the default; (c) a date, notless than 30 days fram the date the notice is given to Borrower, by which the default
must be cured; and (qd) that failure to cure the default on or before the date speciffed in the notice may result In
acceleration of the sums secured by this Security Instrument and sale of the Property. The notice shall further
Inform Borrower of the sight to relnstate after acceleration and the right to bring a court action to asserl the non-
existence of a default or any other defense of Borrower to acceleration and sale. if the default Is net cured on
or before the date specified in the notice, Lender at its option may require Immedtate payment in full of all sums
secured by this Security instrument without further demand and may invoke the power of sale and any other
remedies permitted by Applicable Law. Lender shall be entitled to collect all expanses Incurred In pursuing the
remedies provided in this Section 22, Including, but not [Imited to, reasonable attorneys’ fees and casts of title
evidance,

if Lander Invokes the power of sale, Lender shall give notice of sale to Borrower in the manner provided in
Section 15. Lender shali publish and post the notice of sale, and the Property shall be sold in the manner
preserlbed by Applicable Law, Lender or its designee may purchase the Property at any sale, The proceeds of
the sale shail be applied In the following order: {a} to all expenses of the sale, Including, but not limited to,
reasonable attomeys' fees; (b) to all sums secured by this Security Instrument; and (c} any excess to the person
or persons fegally entitled to it.

23. Release, Upon payment of ali sums secured by this Security instrument, Lender shall prepare and file a
discharge of this Security Instrument. Lender may charge Borrower a fee for releasing this Security instrument, but
only if the fee is paid to a third party for services rendered and the charging of the fee is permitted under Applicable

Law,

 

MICHIGAN--Sing!a Family-Fannia Mae/Fraddia Mac UNIFORM INSTRUMENT Form 3023 1/01 Initials:
© 1999-2002 Online Documents, Inc, Page 8 of 9 MIUDEED

 
Case 2:11-cv-10940-GER-PJK ECF No. 1 filed 03/09/11 PagelD.27 Page 27 of 69

b

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants con
- Instrument and in any Rider executed by Borrower and recorded with it

LOAN #: 637414089
tained in this Security

 

 

 

(Seal}
RONALD H NIEPORTE
State of MICHIGAN County of
The foregoing instrument was acknowledged before me this (date)

by RONALD H NIEPORTE (name of person acknowledged},

 

Signature of Person Taking Acknowledgment

 

Title or Rank

 

Serial Number, if any

MICHIGAN--Single Farnily--Fannie Mae/Fraddle Mac UNIFORM INSTRUMENT Form 3023 1/01 _
© 1999-2002 Online Documents, inc. Page 9 of 9 Ratu

 
 

Case 2:11-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.28 Page 28 of 69

Exhibit 2

 

 

vee
anega Fal
ame
ae:
C

iy
Case 2:11-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.29 Page 29 of 69

ae 9440 PAGE 243
babi 200 G242:59 Py
ACOKB COUNTY, HI

CARRELL SABAIGH, REG/DEEDS

QUIT CLAIM DEED
| STATUTORY FORM

Tite Company

Sed Lot HOA eg ILL eA CE OE

 

 

   

KNOW ALL MEN BY THESE PRESENTS: That BONNIE JEAN WIEFARTE, a married woman,
RONALD HARRY NIEPORTE, a married man

whose address is 71073 BUSCH AVENUE, WARREN, MICHIGAN 48089
QuitClaim 8 to RONALD HARRY NIEPORTE, a married man,
whase addregsis 11073 BUSCH AVENUE, WARREN, MICHIGAN 48089

the following described premises situated inthe City of Warren Countyof Macomb
and State of Michigan, ta-wit:

Lot 26, “RAY KIMBERELY SUBDIVISION", part of the N.E. 1/4 of
Section 22, T.? N., R.12 E,, Warren Township {now City of Warren}
Macomb County, Michigan, Recorded in Liber 39 of Plats, pages

1 & 2 of Macomb County Records,

 

More commonly known as: 17073 Busch Avenue
: Warren, Michigan 48089

together with all and singular the tenements, hereditaments and appurienances thereunto belonging or
in anywise appertaining, lor the sum of

$1.00. Exempt under MCL 207.505 [i}

Dated this atst day of March 400

Sigaed inthe presence of: Signed by:

od

 

 

 

RONALD HARRY NIEPORTE

 

 

 

STATE OF MICHIGAN
COUNTY Qf Macomb f SS.

The foregoing instrument was acknowledged before me this__24st day of, March
200 hy BONNIE JEAN NIEPORTE and RONALD HARRY NIEPORTE

 

 

 

WENDY A. LESNEX Nenary Public,
Macomb County, Michigan
My Conumission expires
When Recorded Return Fa: Send Subsequent Tax Bills To: Drafled by: GEORGE E. MICHAELS,

RONALD H. NIEPORTE SAME

Business Address
24220 KELLY ROAD
| EASTPOINTE, MI 48021

 

Tax Parcel # Recording Fee Revenue Stamps

 
 

Case 2:11-cv-10940-GER-PJK ECF No. 1 filed 03/09/11 PagelD.30 Page 30 of 69

 

DISCOVERY AND CASE EVALUATION | case No: 2010-004940-CH
ORDER

 

 

 

 

 

Defendant Name:

 

 

RONALD NIEPORTE Vv CITIMORTGAGE INC et al

 

 

 

This Discovery and Case Evaluation Order shall govern all parties and their respective counsel.

1.

This order shall issue following the filing of the first answer to the complaint. This order shall be binding on all
parties in this case, regardless of when they appear in the action. If a plaintiff serves or adds a defendant to
the case after receiving this order, that plaintiff must provide that defendant with a copy of this order. The
added defendant is bound by the terms of this order, unless the time periods in this order are extended by
order of the Court.

All discovery, including depositions, interrogatories, medical examinations, etc., shall be initiated by
04/29/2011 unless extended by order of the Court.

Summary disposition motion(s) must be filed and heard by 07/28/2011.

Case evaluation shall occur after the close of discovery. You will receive a notice scheduling the date and time
of case evaluation.

_ Witness lists, including identification of experts and their field of expertise, names and addresses, shall pe

furnished by plaintiff(s) to defendant(s) on 02/14/2011 and by defendani(s) to plaintiff(s) on 02/28/2011. By the
end of the discovery period set by this order, the parties shall also furnish each other copies of all known
records, wage loss, photographs and diagrams, and any other real evidence to be relied upon in case

evaluation.

_ An extension of the deadlines in this order shall only be granted by order in the discretion of the trial judge.

Dated: December 30, 2070 JOHN C FOSTER

Circuit Court Judge

NASSEEM S$ RAMIN
2723 SOUTH STATE STREET #400
ANN ARBOR, MI 48104
 

Case 2:11-cv-10940-GER-PJK ECF No. 1 filed 03/09/11 PagelD.31 Page 31 of 69

STATE OF MICHIGAN NSRA JAN 114 2011
IN THE CIRCUIT COURT FOR THE COUNTY OF MACOMB

RONALD NIEPORTE

Vv. Case No. 2G610-004940-CH

CITIMORTGAGE INC et al
/

ORDER FOR EARLY DISPOSITION SETTLEMENT CONFERENCE
This case is scheduled for an Early Disposition Settlement Conference on March
24, 2011 at 8:00 am before the HONORABLE JOHN C FOSTER.
Trial attorneys, the parties involved and representatives with full settiement

authority are required to be present ai the conference.

iT IS SO ORDERED.
HON. JOHN C FOSTER

Date: January 7, 2071

NASSEEM S RAMIN
2723 SOUTH STATE STREET #400
ANN ARBOR, MI 48104

sR AP Si ater A ey te vit We neg

 
Case 2:1

TROPT & TROTT, PC.
31440 NORTHWESTERN
wy. STE. 200
FARMINGTON HILLS, MI
48334
PHONE (248) 642-2515
PACSIMILE (248) 642-3628

L-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.32 Page 32 of 69

STATE OF MICHIGAN
IN THE CIRCUIT COURT FOR THE COUNTY OF MACOMB

 

RONALD NIEPORTE,
Individually,
Case No. 10-4940-CH
Hon. John C, Foster
Plaintiff,
Vv

CITIMORTGAGE, INC.

a foreign for profit corporation,

TROTT & TROTT, P.C.,

a Michigan corporation,

FEDERAL HOME LOAN MORTGAGE CORPORATION,
(Freddie Mac)

GTL LLC,

a domestic limited liability company,

Jointly and severally,

 

Defendants.
THE MORAN LAW FIRM TROTT & TROTT, P.C.
Valerie A. Moran (P56498) Richard Welke (P44403)
Attorney for Plaintiff Counsel for Defendant TROTT &
115 N. Center Street, Suite 203 TROTT, P.C.
Northville, MI 48167 31440 Northwestern Hwy., Ste. 200
(248) 465-9400 Farmington Hills, MI 48334

(248) 723-5765

DYKEMA GOSSETT PLLC

K.J. Miller (P62014)

Nasseem S$. Ramin (P73513)

Attorneys for Defendant CitiMortgage, Inc.
2723 South State St., suite 400

Ann Arbor, MI 48104

(734) 214-7678

 

DEFENDANT'S ANSWER TO COMPLAINT AND JURY DEMAND

 

NOW COMES Defendant, TROTT & TROTT, P.C. (hereinafter referred to as

 

 

 

“FROTT” or “Defendant”), by and through its attorneys, Trott & Trott, P.C.. by Richard

Welke, and for its Answer to Complaint and Jury Demand (“Complaint”), state as follows:

 

L:\Karolyn\Richard. Welke\Nieporte, Ronald 227821 LO5\Answer To Complaint Trott 3-4-2011.Doc
I

 
 

Case 2:1

TJROTT & TFROTT, P.C.
31440 NORTHWESTERN
HWY., STE. 200
FARMINGTON HILLS, MI
48334
PHONE (248) 642-2515
FACSIMILE (248) 642-3628

 

l-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.33 Page 33 of 69

1. Defendant neither admits nor denies the allegations contained in Paragraph 1
of the Complaint for the reason that it lacks sufficient information or knowledge to form a
belief as to the truth of the allegations.

2. Defendant neither admits nor denies the allegations contained in Paragraph 2
of the Complaint for the reason that it lacks sufficient information or knowledge to form a
belief as to the truth of the allegations.

3. + Defendant, Trott is a Michigan corporation.

4. Defendant neither admits nor denies the allegations contained in Paragraph 4
of the Complaint for the reason that it lacks sufficient information or knowledge to form a
belief as to the truth of the allegations.

5. Defendant neither admits nor denies the allegations contained in Paragraph 4
of the Complaint for the reason that it lacks sufficient information or knowledge to form a
belief as to the truth of the allegations.

6. No response is required from Defendant since the allegations appear to be
Plaintiffs commentary, opinion or interpretation of the law,

7. No response is required from Defendant since the allegations appear to be
Plaintiffs commentary, opinion or interpretation of the law.

GENERAL ALLEGATIONS

8, Defendant re-alleges and re-incorporates herein its Answers to the preceding
paragraphs 1-7 as if fully restated herein.

9. Defendant neither admits nor denies the allegations contained in Paragraph 9
of the Complaint for the reason that it lacks sufficient information or knowledge to form a

belief as to the truth of the allegations.

 

L:\Karolyn\Richard. Welke\Nieporte, Ronald 227821L05\Answer To Complaint Trott 3-4-2011.Doc
?

 
 

Case 2:1

TROTT & TROTT, P.C.
31440 NORTHWESTERN
HWY., STE. 200
FARMINGTON HILLS, M]
48334
PHONE (248) 642-2515
FACSIMILE (248) 642-3628

 

 

l-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.34 Page 34 of 69

10. Defendant neither admits nor denies the allegations contained in Paragraph 10
of the Complaint for the reason that it lacks sufficient information or knowledge to form a
belief as to the truth of the allegations.

il. Defendant neither admits nor denies the allegations contained in Paragraph It
of the Complaint for the reason that it lacks sufficient information or knowledge to form a
belief as to the truth of the allegations

12. Defendant neither admits nor denies the allegations contained in Paragraph 12
of the Complaint for the reason that it lacks sufficient information or knowledge to form a
belief as to the truth of the allegations. By way of further response, Defendant denies any
wrongdoing or illegal conduct.

13. Defendant does not contest the allegation contained in Paragraph 13, but
reserves the right to do so in the future.

14. Defendant neither admits nor denies the allegations contained in Paragraph!4
of the Complaint for the reason that it lacks sufficient information or knowledge to form a
belief as to the truth of the allegations. By way of further response, Defendant denies any
wrongdoing or illegal conduct.

15. Defendant neither admits nor denies the allegations contained in Paragraph15

of the Complaint for the reason that it lacks sufficient information or knowledge to form a

. belief as to the truth of the allegations. By way of further response, Defendant denies any

wrongdoing or illegal conduct.

16. Defendant neither admits nor denies the allegations contained in Paragraph 16
of the Complaint for the reason that it lacks sufficient information or knowledge to form a
belief as to the truth of the allegations. By way of further response, Defendant denies any

wrongdoing or illegal conduct.

L:\Karolyn\Richard. Welke\Nieporte, Ronald 227821L03\Answer To Compiaini Trott 3-4-2011.Doc

3

 
 

Case 2:1

TROTT & TROTT, P.C.
31440 NORTHWESTERN
Hwy., STE. 200
FARMINGTON HILLS, M1
48334
PHONE (248) 642-2515
FACSIMILE (248) 642-3628

 

 

[-cv-10940-GER-PJK ECF No. 1 filed 03/09/11 PagelD.35 Page 35 of 69

17. Defendant neither admits nor denies the allegations contained in Paragraph 17
of the Complaint for the reason that it lacks sufficient information or knowledge to form a
belief as to the truth of the allegations.

18. Defendant neither admits nor denies the allegations contained in Paragraph 18
of the Complaint for the reason that it lacks sufficient information or knowledge to form a
belief as to the truth of the allegations.

19. Defendant neither admits nor denies the allegations contained in Paragraph 19
of the Complaint for the reason that it lacks sufficient information or knowledge to form a

belief as to the truth of the allegations. By way of further response, Defendant denies any

wrongdoing or illegal conduct.

20. Defendant neither admits nor denies the allegations contained in Paragraph 20
of the Complaint for the reason that it lacks sufficient information or knowledge to form a
belief as to the truth of the allegations. By way of further response, Defendant denies any
wrongdoing or illegal conduct.

21. Defendant neither admits nor denies the allegations contained in Paragraph 21
of the Complaint for the reason that it lacks sufficient information or knowledge to form a
belief as to the truth of the allegations. By way of further response, Defendant denies any
wrongdoing or illegal conduct.

22. Defendant neither admits nor denies the allegations contained in Paragraph 22
of the Complaint for the reason that it lacks sufficient information or knowledge to form a
belief as to the truth of the allegations. By way of further response, Defendant denies any
wrongdoing or illegal conduct.

23. Defendant neither admits nor denies the allegations contained in Paragraph 23

of the Complaint for the reason that it lacks sufficient information or knowledge to form a

L:AkKarolyn\Richard. Welke\Nieporte, Ronald 22782! LO5\Answer To Complaint Trott 3-4-2011.Doc
4

 
 

Case 2:11

TROTT & TROTT, P.C.
31440 NORTHWESTERN
HWY., STE. 200
FARMINGTON HILLS, MI
48334
PHONE (248) 642-2515
FACSIMILE (248) 642-3628

 

 

L-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.36 Page 36 of 69

belief as to the truth of the allegations. By way of further response, Defendant denies any
wrongdoing or illegal conduct.
_ 4. To the extent the allegation refers to this Defendant, Trott denies the

allegation as stated and further denies any wrongful and/or illegal conduct.

25. To the extent the allegation refers to this Defendant, Trott denies the
allegation as stated and further denies any wrongful and/or illegal conduct.

26. To the extent the allegation refers to this Defendant, Trott denies the
allegation as stated and further denies any wrongful and/or illegal conduct.

COUNT L- CONVERSION

27. Defendant re-alleges and re-incorporates herein its Answers to the preceding
paragraphs 1-26 as if fully restated herein.

28. Defendant neither admits nor denies the allegations contained in Paragraph 28
of the Complaint for the reason that it lacks sufficient information or knowledge to form a
belief as to the truth of the allegations. By way of further response, Defendant denies any
wrongdoing or illegal conduct.

29. To the extent the allegations in Paragraph 29 a-g refer to this Defendant, Trott
denies the allegations as stated and further denies any wrongful and/or illegal conduct.

30. To the extent the allegation refers to this Defendant, Trott denies the
allegation as stated and further denies any wrongful and/or illegal conduct.

31. Defendant denies the allegations as stated.

WHEREFORE, Defendant respectfully requests this Court to dismiss Plaintiffs

Complaimt in its entirety with prejudice and award costs and reasonable attorney fees
necessitated by defense of this matter.

COUNT II —- TRESPASS AS TO CHATTELS

L:\Karolyn\Richard. Welke\Nieporte, Ronald 227821] LO5\Answer To Complaint Trott 3-4-2011.Doc
5

 
 

Case 2:1]

TROTT & TROTT, P.C.
31440 NORTHWESTERN
HWY., STE. 200
FARMINGTON HILLS, MI
48334
PHONE (248) 642-2515
FACSIMILE (248) 642-3628

 

 

-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.37 Page 37 of 69

32. Defendant re-alleges and re-incorporates herein its Answers to the preceding
paragraphs 1-31 as if fully restated herein.

33. To the extent the allegations in Paragraph 29 a-d refer to this Defendant, Trott
denies the allegations as stated and further denies any wrongful and/or illegal conduct.

WHEREFORE, Defendant respectfully requests this Court to dismiss Plaintiffs
Complaint in its entirety with prejudice and award costs and reasonable attorney fees
necessitated by defense of this matter.

COUNT II] — FORCIBLE EJECTION FROM LANDS

34, Defendant re-alleges and re-incorporates herein its Answers to the preceding
paragraphs 1-33 as if fully restated herein.

35. To the extent the allegation refers to this Defendant, Trott denies the
allegation as stated and further denies any wrongful and/or illegal conduct.

36. To the extent the allegation refers to this Defendant, Trott denies the
allegation as stated and further denies any wrongful and/or illegal conduct.

37. No response is required from Defendant since the allegations appear to be
Plaintiffs commentary, opinion or interpretation of the law. By way of further response,
Defendant denies any wrongdoing or illegal conduct.

WHEREFORE, Defendant respectfully requests this Court to dismiss Plaintiffs
Complaint in its entirety with prejudice and award costs and reasonable attorney fees
necessitated by defense of this matter.

COUNT FV — CONCERT OF ACTION

38. Defendant re-alleges and re-incorporates herein its Answers to the preceding
paragraphs 1-38 as if fully restated herein.

39. To the extent the allegation refers to this Defendant, Trott denies the

allegation as stated and further denies any wrongful and/or illegal conduct.

L:\Karolyn\Richard. Welke\Nieporte, Ronald 227821 LO5\Answer To Complaint Trott 3-4-2011.Doc
6

 
 

Case 2:1

TROTT & TROTT, P.c.
31440 NORTHWESTERN
HWY., STE. 200
FARMINGTON HILLS, MJ
48334
PHONE (248) 642-2515
FACSIMILE (2483 642-3628

 

l-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.38 Page 38 of 69

40. To the extent the allegation refers to this Defendant, Trott denies the
allegation as stated and further denies any wrongful and/or illegal conduct.
4], To the extent the allegation refers to this Defendant, Trott denies the

allegation as stated and further denies any wrongful and/or illegal conduct.

42. To the extent the allegation refers to this Defendant, Trott denies the
allegation as stated and further denies any wrongful and/or illegal conduct.
WHEREFORE, Defendant respectfully requests this Court to dismiss Plaintiff's

Complaint in its entirety with prejudice and award, costs and reasonable attorney fees
a

a

necessitated by defense of this matter. ~~

Dated: March 4, 2011

 

 

/ f

f Rickard Welke (P44403)

“Attorney for Defendant TROTT & TROTT, P.C.
31440 Northwestern Hwy., Ste. 200
Farmington Hills, MI 4833
(248) 723-5765

 

L:\Karolyn\Richard. Welke\Nieporte, Ronald 227821 L05\Answer To Complaint Trott 3-4-2011.Doc
7

 
 

Case 2:11-cv-10940-GER-PJK ECF No. 1 filed 03/09/11 PagelD.39 Page 39 of 69

TROTT & TROTT, P.C.
31440 NORTHWESTERN
HWY... STE. 200
FARMINGTON HILLS, MI
48334
PHONE (248) 642-2515
FACSIMILE (248) 642-3628

STATE OF MICHIGAN
IN THE CIRCUIT COURT FOR THE COUNTY OF MACOMB

 

RONALD NIEPORTE,
Individually,
Case No. 10-4940-CH
Hon. John C. Foster
Plaintiff,
Vv

CITIMORTGAGE, INC.

a foreign for profit corporation,

TROTT & TROTT, P.C.,

a Michigan corporation,

FEDERAL HOME LOAN MORTGAGE CORPORATION,
(Freddie Mac)

GTL LLC,

a domestic limited liability company,

Jointly and severally,

 

Defendants.
THE MORAN LAW FIRM TROTT & TROTT, P.C.
Valerie A. Moran (P56498} Richard Welke (P44403)
Attorney for Plaintiff Co-Counsel for Defendant,
115 .N. Center Street, Suite 203 TROTT & TROTT, P.C.
Northville, MI 48167 31440 Northwestern Hwy., Ste. 200
(248) 465-9400 Farmington Hills, MJ 4833

(248) 723-5765
DYKEMA GOSSETT PLLC
KJ. Miller (P62014)
Nasseem 8. Ramin (P73513)
Attorneys for Defendant CitiMortgage, Inc.
2723 South State St., suite 400
Ann Arbor, MI 48104
(734) 214-7678

 

 

 

DEFENDANT’S AFFIRMATIVE AND/OR SPECIAL DEFENSES TO
COMPLAINT AND JURY DEMAND

 

NOW COMES Defendant, TROTT & TROTT, P.C. (hereimafter referred to as

“TROTT” of “Defendant”’), by and through its attorneys, Trott & Trott, P.C., by Richard

L:\Karolyn\Richard, Welke\Nieporte, Ronald 227821 LO5\Affirmative Defenses Trott 3-4-201].Doc
l

 
 

Case 2:11-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.40 Page 40 of 69

FROTT & TROTT, P.C.
31440 NORTHWESTERN
HWY., STE. 200
FARMINGTON HILLS, Mi
48334
PHONE (248) 642-2515
FACSIMILE (248) 642-3628

 

 

Welke, and for its Affirmative and/or Special Defenses to Complaint and Jury Demand

(“Complaint”), state as follows:

t. Defendant(s) will rely upon all affirmative defenses available pursuant to MCR

2.111 and MCR 2.116.

2. Defendant(s) reserve the right to file a Counter-Claim, Cross-Claim or Third-
Party Complaint, if appropriate, and as discovery dictates.
3. Plaintiff is not entitled to any relief because of her actions, inactions,

contributory negligence, and comparative negligence.

4. The Court lacks jurisdiction over the person or property.

5. The process issued in the action was insufficient.

6. The Court lacks jurisdiction of the subject matter.

7. The party asserting the claim lacks the legal capacity to sue.

8. The claim is barred because of release, payment, prior judgment, immunity

eranted by law, statute of limitations, statute of frauds, an agreement to arbitrate (demand
is hereby made to arbitrate this matter), infancy or other disability of the moving party, or
assignment or other disposition of the claim before commencement of the action.

9. The opposing party has failed to state a claim on which relief can be granted

10, Except as to the amount of damages, there is no genuine issue as to any material
fact, and the Defendants are entitled to judgment or partial judgment as a matter of law.

ll. Defendant(s) also rely on the affirmative defenses of accord and satisfaction,
arbitration and award (see #8 above), assumption of risk, contributory negligence,
discharge in bankruptcy, duress, estoppel, failure of consideration, fraud, illegality, injury

by fellow servant, laches, license, payment, release, res judicata, statute of frauds, statute of

L:\Karolyn\Richard. Welke\Nieporte, Ronald 227821 LOS\Affirmative Defenses Trott 3-4-2011.Doc
2

 
 

Case 2:11-cv-10940-GER-PJK ECF No. 1 filed 03/09/11 PagelD.41 Page 41 of 69

TROTT &TROTT, P.C.
31440 NORTHWESTERN
HWY., STE. 200
FARMINGTON HILLS, M]
48334
PHONE (248) 642-2515
FACSIMILE (248) 642-3628

 

 

limitations, waiver, fraud, immunity granted by law; want or failure of consideration or that
an instrument or transaction is void, voidabie, or cannot be recovered on by reason of
statute or nondelivery; as appropriate.

12, Plaintiff’s claims are barred by the equitable doctrine of judicial or equitable
estoppel.

13. Plaintiff has unclean hands.

14. Plaintiff's claims are barred by the doctrine of laches.

15. Plaintiffs alleged damages, if any, are the result of the actions and/or omissions
of parties and/or persons other than this Defendant.

16. Plaintiff has, at all relevant times, notice, actual and/or constructive, of any
contested issue in this matter.

17. Defendant(s) rely upon any affirmative defense asserted by any party in this
matter as may be applicable to either or all Defendants.

18. — Plaintiff has failed to mitigate his/her damages, if any.

19. Defendant(s} will rely upon any affirmative defense to any alleged violation of
any state or federal statute or provision contained therein or in the common law interpreting
same as itt relates to this matter presently before this court.

20. Defendant(s) forwarded and posted all notices to the Plaintiff in a timely
manner that satisfied all applicable laws, statutes, rules and regulations.

21.  Plaintiff’s claim is barred by the doctrine of res judicata.

22. Plaintiffs claim is barred by the doctrine of collateral estoppel.

23. Plaintiff's claim ts barred by a prior judgment.

24. Plaintiff's pleadings are frivolous and in violation of MCR 2.114.

L:AKarolyn\Richard. Welke\Nieporte, Ronald 227821 LOS\Affirmative Defenses Trott 3-4-2011.Doc

2

 
 

Case 2:11-cv-10940-GER-PJK ECF No. 1 filed 03/09/11 PagelD.42 Page 42 of 69

TROTT & FROTT, P.C.
31440 NoRTHWESTERN
HWy., STE. 200
FARMINGTON HILLS, MI
48334
PHONE (248) 642-2515
FACSIMILE (248) 642-3628

 

 

25. This Defendant complied with all parts of the eviction provisions, as well as any
applicable federal or state statute, rule, regulation or law and Defendant will rely upon any
affirmative/special defense to any alleged violation of the eviction provisions.

26. This Defendant complied with all parts of the trespass provisions, as well as any
applicable federal or state statute, rule, regulation or Jaw and Defendant will rely upon any
affirmative/special defense to any alleged violation of the trespass provisions.

27. Defendant responded appropriately to all requests and engaged tn no wrongful
or unlawful conduct.

28. Plaintiffs alleged damages were not caused by any actions or omissions of this
Defendant, but rather were caused by the actions of other named or unnamed Defendant(s),
and thus, this Defendant is entitled to recovery from some or all of them in the event that

Plaintiffs prevail.

29, Plaintiff's claims are barred, in whole or in part, by Federal Law.
30. Plaintiff's claims are preempted, in whole or in part, by Federal Law.
31. That Defendant will rely upon any affirmative defense to any alleged violation

of any state or federal statute or provision contained therein or in the common law
interpreting same as it relates to this matter presently before this court.

32, This Defendant did not convert Plaintiff's property and Defendant will rely
upon any affirmative/special defense to any alleged violation.

33. This Defendant did not forcibly evict, interfere with possessory interest, remove
any personality, convert or commit theft and this Defendant will rely upon any

affirmative/special defense to any alleged violation.

L:\Karolyn\Richard. Welke\Nieporte, Ronald 227821L05\A ffirmative Defenses Trott 3-4-2011.Doc
4

 
 

Case 2:11-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.43 Page 43 of 69

TROTT & TROTT, PC,
31440 NORTHWESTERN
HWY., STE. 260
FARMINGTON HILLS, M?
48334
PHONE (248) 642-2515
FACSIMILE (248) 642-3628

 

 

34. This Defendant will rely upon the “independent contractor affirmative/special
defense to any alleged misconduct or violation of law.

35. This Defendant did not breach any duty it may have owed the Plaintiff.

36. This Defendant did not violate MCLA 600.2918 or any other wrongful lockout
statute or common law similar claim.

37, That all of the agreements, transactions and conduct of the Defendant(s) were
appropriate and legal.

38. Defendant did not commit fraud or misrepresent anything to the Plaintiff.

39. Any affirmative defense, which is not raised in a Defendant's answer or in its

' motion for summary judgment is waived. MCR 2.111; MCR 2.116; KEMERKO

CLAWSON v RxIV, 269 Mich, App. 347 (2005); Soderberg v Detroit Bank & Trust Co.
(1983) 126 Mich App 474, 337 NW2d 364, app den (1984) 419 Mich 867. Any listed
affirmative/special defense, which is subsequently determined to have no factual or legal
basis will be withdrawn.

AQ. Defendant(s) reserve the right to amend and/or supplement their defenses, as

they become known through discovery or otherwise.

Dated: March 4, 2011

 

 

* Richard Welk (P44403)
Attorney for Defendant TROTT & TROTT, P.C.
31440 Northwestern Hwy., Ste. 200
Farmington Hills, MJ 48334
(248) 723-5765

L:\Karolyn\Richard. Welke\Nieporte, Ronald 227821 LO5\Affirmative Defenses Trott 3-4-201] 1.Doc
5

 
Case 2:11-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.44 Page 44 of 69

STATE OF MICHIGAN

IN THE CIRCUIT COURT FOR THE COUNTY OF MACOMB

RONALD NIEPORTE,

Plaintiff,
Case No. 10-4940-CH
VS.
Honorable John C. Foster
CITIMORTGAGE, INC., TROTT & TROTT,
PC, FEDERAL HOME LOAN MORTGAGE
CORPORATION, and GTJ LLC,

 

 

: Defendants.
. Walerie A. Moran (P56498) KJ. Miller (P62014)
THE MORAN LAW FIRM Nasseem 8. Ramin (P73513)
Attorneys for Plaintiff DYKEMA GOSSETT PLLC
115 N. Center Street, Suite 203 Attorneys for Defendant CiiMortgage, Inc.
Northville, MI 48167 2723 South State Street, Suite 400
(248) 465-9400 " Ann Arbor, MI 48104

(734) 214-7678

 

DEFENDANT CITIMORTGAGE, ING’S
ANSWER TO COMPLAINT AND JURY DEMAND

Defendant, CitiMortgage, Inc. (‘CMI’), through its attorneys, Dykema Gossett PLLC,

hereby submits its Answer to Plaintiff's Complaint and Jury Demand as follows:

DYKEMA COSSETT«a PROFRSSIONAL LIMITED LIABILITY (OMEANY S41] RENAISSANCE CEN?

l. Plaintiff RONDALD [sic} NIEPORTE (NIEPORTE) is a resident of the County
of Macomb, State of Michigan.

 

Answer: CMI is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in this paragraph.

2. Defendant CITIMORTGAGE, INC (“CITIMORTGAGE”), is upon information
and beliefa foreign corporation conducting business tn Macomb County, Michigan

Answer: CMI admits only that it is a New York Corporation, with its principal place of

business in the state of Missouri, and that it conducts business in Michigan.

 
 

Case 2:11-cv-10940-GER-PJK ECF No. 1 filed 03/09/11 PagelD.45 Page 45 of 69

 

VOETROIT, MICVIIC AN 48243,

DYKEMA GOSRETT«A PROFESSIONAL LIMITED LIABILITY COMPANY sai} RENAISSANCE CENT OR

 

3, Defendant TROTT & TROTT, P.C., (TROTT) is upon information and belief a
Michigan law firm, as well as, Michigan corporation conducting business in Macomb County,
Michigan.

Answer: CMI is without knowledge or information sufficient to form a belief as to the
truth of the allegations contained in this paragraph.

4. Defendant GTJ LLC (“GTJ”),.is upon information and belief a Michigan hmited
liability company conducting business in Macomb County, Michigan.

Answer: CMI is without knowledge or information sufficient to form a belief as to the
truth of the allegations contained in this paragraph.

5. Defendant, Federal Home Loan Mortgage Corporation (FREDDIEMAC), upon
information and belief was a government sponsored enterprise, now in governmental
receivership, conducting business in the County of Macomb, State of Michigan. ,

Answer: CMI is without knowledge or information sufficient to form a belief as to the
truth of the allegations contained in this paragraph.

6. Plaintiff seeks an amount of damages over $25,000.00 as well as equitable relief.

Answer: CMI denies all allegations of wrongdoing and denies that Plaintiff is entitled to
any relief from CMI based on the allegations in the Complaint.

7. The complained of injuries occurred within the County of Macomb, State of
Michigan thus jurisdiction and venue are proper before this Court.

Answer: CMI admits only that jurisdiction and venue are. proper. CMI denies all
allegations of wrongdoing and denies that Plaintiff is entitled to any relief from CMI based on
the allegations tn the Complaint.

GENERAL ALLEGATIONS

8. Plaintiff realleges and reincorporates each of the allegations contained in all
preceding paragraphs as though fully restated herein. .

Answer: CMI incorporates by reference its responses to paragraphs | through 7 set forth

above.

nN

 
 

Case 2:11-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.46 Page 46 of 69

 

‘ce DETROWT, MICHIGAN 48243

DYKEMA GOSSETT+A PROFESSIONAL LIMITED LIABILITY COMPANY*400 RENAISSANCE CENT?

 

9. Plaintiff was the owner of and had a certain piece of real property located at :
11073 Busch Ave. Warren Michigan. (Exhibit 1: Mertgage Exhibit 2: Deed)

Answer: The referenced documents speak for themselves. CMI denies the allegations
contained in this paragraph to the extent that they are inconsistent with the referenced

documents.

10. While Plaintiff was the owner of the Property, he had granted a Mortgage to ABN
AMRO Mortgage Group, Inc. (Exhibit 1) that was subsequently assigned, bought or otherwise
iransferred to Defendant Citimortgage and then subsequently assigned, bought or otherwise
transferred to Defendant, Freddiemac.

Answer: The referenced document speaks for itself, CMI denies the allegations
contained in this paragraph. to the extent that they are inconsistent with the referenced document.

li. Upon information and belief the mortgage loan was serviced by Defendant
Citimorigage.

Answer: CMI admits only that it began servicing the mortgage loan at issue on
September 15, 2007.

12. Plaintiff fell behind on his Mortgage payments, and the above referenced property
was sold at Sheriff Sale on July 10, 2009 in a foreclosure by advertisement with the assistance of
Defendant Trott & Trott acting as their attomey.

Answer: CMI admits only that Plaintiff defaulted on his obligations under the mortgage
loan at issue and that the real property at issue was sold at a Sheriff's sale on July 10, 2009.

13, The redemption period was to expire on January 10, 2010.

Answer: CMI admits that the redemption period expired on January 10, 2010.

14. During the redemption period, Plaintiff occupied the property, which was his
primary residence. On November 17, 2009, while Plaintiff was away at work, locks were

removed and changed at the property, the water was shut off and disconnected, all the pipes were
drained, and pipes as well as drains were treated with chemicals.

Answer: CMI is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in this paragraph.

 
 

Case 2:11-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.47 Page 47 of 69

 

DYKEMA GOSSETT+s PROFESSIONAL LIMITED LIABILITY COMPANY 40 RENATSSANCE CENTERsDETROIT, MICITRTAN 48243,

 

15, During the course of the illegal acts of Defendants, Plainuff lost thousands of
dollars in tools and other personal property which were unlawfully removed from the property
during Defendants [sic] unlawful entry into the property and unlawful interference with
Plaintiff's possessory interest. Additionally, doors and locks at the property were removed or
damaged in the course the [sic] of removing and changing the locks and the chemicals placed in
pipes and drains in the home emitted a strong odor which penetrated Plaintiffs furniture,
mattress, clothing and other personal items such that they could no longer be used for their
intended purpose and had to be thrown away.

Answer: CMI denies all allegations of wrongdoing and is without knowledge or
information sufficient to form a belief as to the truth of the remaining allegations contained in
this paragraph.

16. The drains at the property were treated with chemicals which gave the entire
property a sever chemical! odor.

Answer: CMI is without knowledge or mformation sufficient to form a belief as to the
truth of the allegations contained in this paragraph.

17. When Plaintiff later retrieved his belongings, the chemical odor in the property
was so strong it caused Plaintiff to suffer severe headaches and he could only be inside the home
for short periods of time.

Answer: CMI is without knowledge or information sufficient to form a behef as to the
truth of the allegations contained tn this paragraph.

18. Upon information and belief, lock out, possessory interference and removal of
personal property was carried out by Defendant GTJ.

Answer: CMI is without knowledge or information sufficient to form a belief as to the
truth of the allegations contained in this paragraph.

19. Upon information and belief these acts were at the direction of, or with the
knowledge of, other Defendants.

Answer: CMI denies all allegations of wrongdoing and is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained in this

paragraph.

 
 

Case 2:11-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.48 Page 48 of 69

 

ReDETROIT, MICHIGAN 48243

DYREMA GOSSETT +A PROFESSIONAL LIMITED LIABILITY COMPANY s4i0 RENAINSANCE CBA

 

20. Upon information and belief the lock outs committed by lenders and their
servicing companies, and agents often occur in mortgage foreclosure.

Answer: CMI is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in this paragraph.

21. In mortgage foreclosures, companies are often hired to act as “trash out”
companies, i.e. to go into homes that are not redeemed and remove ard discard personal
property, to change the locks on the properties.

Answer: ‘CMI is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in this paragraph.

22. These companies often also “winterize” or complete “property preservation” of
the properties which includes shutting off heat, disconnecting the water to the property, draining
the pipes and pouring antifreeze or other chemicals in the pipes, toilets and sinks at the property.

i

Answer: CMI is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in this paragraph.

23. In this case, upon information and belief, Defendant GTJ was hired by the other
Defendants to “trash out” and/or change the locks, and/or “winterize” and/or complete “property
preservation” at the subject property.

Answer: CMI denies all allegations of wrongdoing and is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained in this

paragraph.

7 oe

24. The named Defendants regularly act in concert to perform “trash out,” “winterize”

or “property preservation” activities throughout the State of Michigan.

Answer: CMI denies all allegations of wrongdoing and is without knowledge or
information sufficient to form a belief as to the truth of the allegations contained in this
paragraph.

25. Upon information and belief all of the named Defendants regularly conduction
Tsic] such post foreclosure actions in such a blatantly unlawful manner and act in concert to
flagrantly disregard Michigan law.

Answer: Denied as untrue.

 
 

Case 2:11-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.49 Page 49 of 69

 

2° DETRGIT, MICIICGAN 44243

OYKEMA GOSSETT+A PROFESSIONAL LIMITED LIABILITY COMPANY sa00 RENATSSANCE CENT!

 

26. Upon information and belief Defendants pay all agents of theirs a flat fee
regarding the “trash outs” and allow the end entity completing the “trash out” to keep all items of
personal property removed from the subject premises, thereby creating an environment
conducive to the stealing and/or conversion of items of personal property owned by individuals
who have just been through a Mortgage Foreclosure.

Answer: CMI denies all allegations of wrongdoing and is without knowledge or
information stfficient to form a belief as to the truth of the allegations contained in this

paragraph.
COUNT I—- CONVERSION

27. Plaintiffs [sic] reallege and reincorporate the allegations contained in all
preceding paragraphs as though fully restated herein.

Answer: CMI incorporates by reference its responses to paragraphs |} through 26 set

forth above.

28. As set forth fully in the preceding paragraphs, Plaintiff was the owner of
numerous items located at the Property, at the date that the Defendants and their agents broke

into the property.
Answer: Denied as untrue.

29, Upon information and belief, Defendants, either individually, in concert with
other Defendants or at the direction of other Defendants wrongfully exerted dominion over the
Plaintiff's personal property in any of the following ways:

a. intentionally dispossessing another of said chattels

b. intentionally destroying or altering a chattel in the actor’s possession

c. using a chattel in the actor’s possession without authority to use it

d. receiving a chattel pursuant to a sale, lease, piedge, gift, or other

transaction intending to acquire for himself or herself or for another a
proprietary interest in it

e. disposing of a chattel by a sale, lease, pledge, gift, or other transaction
intending to transfer a proprietary interest in it

f. misdelivering a chattel; and/or
g. refusing to surrender a chattel on demand

 
Case 2:11-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.50 Page 50 of 69

Answer: Denied as untrue.
30. As aresult of these actions, Plaintiffs [sic] have been damaged.

Answer: Denied as untrue.
31. Plaintiff is entitled to treble damages pursuant to MCLA § 600.2919a.

Answer: Allegations in this paragraph contain conclusions of law to which no response

is required. CMI denies that Plaintiffis entitled to the relief requested.

 

COUNT II —- TRESPASS AS TO CHATTELS

32. Plaintiffs reallege and reincorporate the allegations contained in all preceding
paragraphs as though fully restated herein.

Answer: CMI incorporates by reference its responses to paragraphs | through 31 set

forth above.

33, As set forth above, the actions of the Defendants, either individually, in concert
with other Defendants or at the direction of other Defendants were an intentional intermeddling
with a chattel in possession of Plaintiffs which resulted in the following:

a. Plaintiffs being dispossessed of some of his possessions;

b. Plaintiffs being deprived of the use of some of his possessions for a long
period of time;

c. Impairment of the condition, quality, usefulness of some of Plaintiffs
possessions; or

d. Harm to the possessions in which Plaintiffs have a legally protected
interest.

DYKEMA GOSSETT=A PROFESSIONAL LIMITED LIABILITY COMPANY «4 RENAISSANCE CENTER »DETRUIT, MICHIGAN 4H243

Answer: Denied as untrue.

COUNT HI - FORCIBLE EJECTION FROM LANDS

34, Plaintiff realleges and reincorporates the allegations contamed in all preceding
paragraphs as though fully restated herein.

Answer: CMI incorporates by reference its responses to paragraphs 1 through 33 set

forth above.

 

 
 

Case 2:11-cv-10940-GER-PJK ECF No. 1 filed 03/09/11 PagelD.51 Page 51 of 69

35. As set forth above, the actions of the Defendants, either individually, in concert
with other Defendants or at the direction of other Defendants was a forcible ejection of the
Plaintiff from his Property.

Answer: Denied as untrue.

36. Plaintiff was damaged as a result of this ejection by the loss of a significant
amount of personal possessions that were removed from the Property, damage to items left in the
property such as Plaintiff's fwmiture, clothing and mattresses in that the chemical odor which
lingered in the fibers rendered them unusable.

 

Answer: CMI denies all allegations of wrongdoing and is without knowledge or
mformation sufficient to form a belief as to the truth of the allegations contained in this
paragraph.

37, Pursuant to MCLA § 600.2918(1), any person who is ejected or put out of any
lands or tenements in a forcible and unlawful manner, or being out is afterwards held and kept
out, by force, if he prevails, is entitled to recover 3 times the amount of his actual damages or
$200.00, whichever is greater, in addition to recovering possession.

Answer: Allegations in this paragraph contain conclusions of law to which no response
is required. To the extent a response is required, the referenced statute speaks for itself. CMI
denies that Plaintiff is entitled to the relief requested.

COUNT IV —- CONCERT OF ACTION

38.  Plamtiff realleges and reincorporates the allegations contained in all preceding
paragraphs as though fully restated herein.

Answer: CMI] incorporates by reference its responses to paragraphs 1 through 37 set

DYKEMA GOSSETTeA PROFESSIONAL LIMITED LIABILITY COMPANY «400 RENAISSANCE CENTE «DETROIT, MICHIGAN 48243

forth above.

39, Defendants acted in concert pursuant to common design to illegally interfere and
dispossess Plaintiff of his real and personal property.

Answer: Denied as untrue.

40. Defendants, intenuonally or recklessly acted to interfere and dispossess Plaintiff
of his real and personal property and to interfere with Plaintiff's lawful possessory interest.

Answer: Denied as untrue.

 

 
Case 2:11-cv-10940-GER-PJK ECF No. 1 filed 03/09/11 PagelD.52 Page 52 of 69

41. Defendants knew or should have known that their actions were illegal and would
cause damage to Plaintiff.

Answer: Denied as untrue.

42. As a direct and proximate result of Defendants concert of action, Plaintiff has
suffered damages.

Answer: Denied as untrue.

AFFIRMATIVE DEFENSES

 

CMI has not yet had the opportunity to complete its investigation and discovery in this
matter and thereby relies on such of the following defenses as may prove applicable after

discovery and at trial:

I, Plaintiff's Complaint fails to state a claim against CMJ upon which relief may be
granted.

2. Plaintiff's claims are barred by the statute of frauds.

3. Plaintiffs claims are barred by the applicable statute of limitations.

Plaintiff lacks standing to assert any interest in the real property at issue.

5. Plaintiff's claims against CMI are barred in whole or in part by waiver, estoppel,
laches, and unclean hands.

6. Plaintiff's claims against CMI are barred in whole or in part by the existence of
relevant contracts.

DYKEMA GOSSETT«A PROFESSIONAL LIMITER LIABILITY COMPANY sd) RENAISSANCE CENTER*DETROIT, MICHIGAN 48243
fs

7. Plaintiff's claims against CMI are barred in whole or in part by Plaintiff's faihure
to mitigate his damages.

8. Plaintiff's claims against CMI are barred in whole or in part by release.

9, Plaintiff’s damages, if any, were caused by his own negligence, acts and/or

inactions and/or the negligence, acts and/or inactions of others, and Plaintiff's
damages, if any, were not proximately caused by any actions or inactions of CMI.

10. Any damages alleged by Plaintiff were the result of superseding and/or
intervening causes or were caused or contributorily caused by the negligence
and/or fault of others over whom CMI had no control, and such negligence and/or
fault should be compared, thereby reducing or completely barring Plainuffs’
alleged right to recover against CMI.

 

 

 
Case 2:11-cv-10940-GER-PJK ECF No. 1 filed 03/09/11 PagelD.53 Page 53 of 69

 

SheDETRONT, MICHIGAN &R244

DYREMA GOSSETT+A PROFESSIONAL LIMITED LIABILITY COMPANY adi] RENAISSANCE CENT?

 

HE.

12.

13.

Plaintiff fails to allege any cognizable damages resulting from CMI’s alleged acts
and/or inactions.

Plaintiffs claims may be barred, in whole or in part, by Plaintiff's own material
breaches, frauds, material misrepresentations, omissions, failure to satisfy
conditions precedent and/or to properly perform under agreements relevant to the
claims.

CMI acted in good faith, in a commercially reasonable manner, and consistent
with the requirements of the law, any relevant agreements, and the parties’ course
of performance.

RESERVATION OF RIGHT

CMI hereby reserves its right to file sach amended answers and such additional defenses

as may be appropriate upon completion of its investigation and discovery.

December 28, 2010

DETOI876862.1

Respectfully submitted,

DYKEMA GOSSETT PLLc

By:

 

K.J. Miller (P62014)

Nasseem 8. Ramin (P73513)

Attorneys for Defendant CitiMortgage, Inc.
2723 South State Street, Suite 400

Ann Arbor, MI 48104

(734) 214-7678 or (313) 568-5326

TENSERA - 0855140999

 
Case 2:11-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.54 Page 54 of 69

STATE OF MICHIGAN

IN THE CIRCUIT COURT FOR THE COUNTY OF MACOMB

RONALD NIEPORTE,
Individually
Plaintiff,

-VSs.-

CITIMORTGAGE INC.,
a foreign profit corporation,
TROTT & TROTT, P.C.,
a Michigan corporation,
Federal Home Loan Mortgage Corporation
(Freddie Mac)
~ GTI LLC,
a domestic limited liability company
Jointly and Severally,
Defendants.

VALERIE A, MORAN (P 56498)
THE MORAN LAW FIRM
Attomey for Plaintiff

115 N. Center Street Suite 203
Northville, MI 48167
248-465-9400

RICHARD WELKE

TROTT & TROTT, PC.

Attomey for Defendant Trott & Trott, only
31440 Northwestern Hwy

Suite 200

Farmington Hills, MI 48334
248-723-5765

Case No. 10-4940-CH
Hon. Judge Foster

GREGORY DEMARRS (P 33578)
Honigman Miller Schwartz & Cohn
Attorney for Defendant GTJ only
660 Woodward Ave. Suite 2290
Detroit, MI 48226

313-465-7356

Plaintiff's Witness List

NOW COMES the Plaintiff, RONALD NIEPORTE, by and through his Attorney

VALERIE A. MORAN and submits this Witness List as follows:
Case 2:11-cv-10940-GER-PJK ECF No. 1 filed 03/09/11 PagelD.55 Page 55 of 69

1. Ronald Nieporte: (Plaintiff) 34840 Campus Sterling Heights, MI 48312
c/o Valerie Moran 115 N. Center Street Suite 203 Northville, MI 48167

2. All neighbors and individuals living in close proximity of the property located at:
11073 Busch Ave Warren, MI 48089 -

3. All Realtors present or former employees, agents, officers, representatives, keeper
of the records, third party service providers, contractors, subcontractors,
independent contractors or suppliers. Who performed services pertaining to:
11073 Busch Ave Warren, Mi 48089

4. Todd Beekman, Home Inspecior, TRICOR Home Inspection Company, LLC
5785 Putnam Dr. West Bloomfield, MI 48323 Ph: 248-921-7721. Expert Witness
Expected to testify regarding issues pertaining to property preservation.

5. All TRICOR Home Inspection Company present or former employees, agents,
officers, representatives, keeper of the records, third party service providers,
contractors.. 5785 Putam Dr. West Bloomfield, MI 48323 Ph: 248-921-7721.

6. Ali individuals, companies, or third party service providers who performed
services at or for the subject real property or performed said services for or on
behalf of any party to this action for the subject real property commonly referred
to as: 11073 Busch Ave Warren, MI 48089

7. Ali persons who performed work at or were consulted by Defendants or
Defendants representatives.

8. All present and former employees, representatives, officers, keepers of records,
third party providers, agents or independent contractors or subcontractors,

employees specifically including those who signed or notarized any document
Case 2:11-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.56 Page 56 of 69

10.

Hl.

12.

13.

14.

15.

pertaining to the property, mortgage or foreclosure at issue in this litigation,
representatives of the Loss Mitigation Department of Trott & Trott, PC: 31440
Northwestern Hwy. Suite 200 Farmington Hills, MI 48334 248-723-5765.

All present and former employees, representatives, officers, keepers of records,
third party providers, agents or independent contractors or subcontractors of any
Appraiser who completed an appraisal for the real property which is the subject of
this litigation: 11073 Busch Ave Warren, MI 48089

Ail present and former GTJ LLC employees, representatives, officers, keepers of
records, third party providers, agents or independent contractors or
subcontractors, or individuals who performed inspection or property
preservation or lock changes at the subject property. GTJ address: 851 Ann Street
Birmingham, MI 48009.

All present and former employees, representatives, officers, keepers of records,
third party providers, agents or independent contractors or subcontractors or any
prior assign for the mortgage loan of Citimortgage, Inc,

All present and former employees, representatives, officers, keepers of records,
third party providers, agents or independent contractors or subcontractors of
Fannie Mae (Federal Home Loan Mortgage Corporation)

All individuals whose name appear on any documents produced in discovery.

All City of Warren employees, police officers, agents and independent
contractors.

Any and all representatives, agents, past or present employees, officer’s and/or

keeper of the records for any and all financial institutions, appraisers, inspectors
Case 2:11-cv-10940-GER-PJK ECF No. 1 filed 03/09/11 PagelD.57 Page 57 of 69

16.

17.

18.

19.

20.

21.

22.

23.

24.

or title agency who inspected the home or provided any services connected with
the property located at : 11073 Busch Ave Warren, MI 48089

Any and ali present or former employees, agents, representatives, keeper of the
records, independent service providers and/or inspectors for the State of
Michigan.

Any and all witnesses appearing on the witness list of the Defendant or named by
any and all parties hereto whether called or not.

Any and all present or former employees, agents, representatives, keeper of the
records, independent service providers for ABN AMRO Mortgage Group, Inc.
2600 W. Big Beaver Rd. Troy, MI 48084

Any and all parties to this action, their agents, officers, employees, agents or
representatives.

If necessary, any and all expert witnesses needed to prove any of the claims set
forth in this matter.

Any and ail persons identified in any: pleading, interrogatory answer, police
report, administrative report, discovery materials, deposition, court documents,
and any other document, record or other evidence produced in this case.
Plaintiffs reserve the right to call any and all of the above witnesses as an Adverse
and/or Hostile witness.

Any and ail other witnesses as may become known during the course of
discovery.

Any and all necessary rebuttal and/or impeachment witnesses.

Plaintiff submits this Witness List with the reservation of rights to further amend
Case 2:11-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.58 Page 58 of 69

or supplement this Witness List and consistent with the Michigan Rules of Civil
Procedure, Plaintiff continues to diligently investigate this matter and reserves the right to

supplement this Witness List if necessary.

Respectfully submitted:

a

a oe MORAN (P 498)
THE MORAN LAWFIRM
Attorney for Plaintiff
115 N. Center St. Suite 203
Northville, MI 48167
Ph: 248-465-9400
Fx: 248-465-9465

Dated: February 14, 2011
Case 2:11-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.59 Page 59 of 69

 

STATE OF MICHIGAN
IN THE CIRCUIT COURT FOR THE COUNTY OF MACOMB
RONALD NIEPORTE,
Individually

Plaintiff,

-VS.- Case No. 10-4940-CH
Hon. Judge Foster
CTTIMORTGAGE INC.,
a foreign profit corporation,
TROTT & TROTT, P.C.,
a Michigan corporation,
Federal Home Loan Mortgage Corporation
(Freddie Mac}
GTJ LLC,
a domestic limited liability company
Jointly and Severally,
Defendants.
/

VALERIE A. MORAN (P 56498) | GREGORY DEMARRS (P 33578)
THE MORAN LAW FIRM Honigman Miller Schwartz & Cohn
Attorney for Plaintiff Attorney for Defendant GTJ oniy

115 N. Center Street Suite 203
Northville, MI 48167
248-465-9400

RICHARD WELKE

TROTT & TROTT, PC.

Attorney for Defendant Trott & Trott, only
31440 Northwestem Hwy Suite 200
Farmington Hills, MI 48334
248-723-5765

660 Woodward Ave. Suite 2290
Detroit, MI 48226
313-465-7356

Plaintiff's Exhibit List

NOW COMES the Plaintiff, RONALD NIEPORTE, by and through his Attorney

VALERIE A. MORAN and submits this Exhibit List as follows:

1. Any and all mortgage loan documents

2. Any and ail closing documents

3. Any and all documents pertaining to the subject property in the possession or
Case 2:11-cv-10940-GER-PJK ECF No. 1 filed 03/09/11 PagelD.60 Page 60 of 69

10.

il.

12.

13.
14.
15.

16.

17.

18.

drafted by any Defendant or Defendant representative or employee including all
emails, invoices, faxes, letters, correspondence documents and the like, including
all electronic and meta data.

All inspection reports, invoices, billing statements and documents pertaining to
any repairs and/or property preservation or inspection of the property.

Any and all contracts and disclosures signed by the parties

All affidavits pertaining to the foreclosure of the property.

All reports, notices, notes, invoices, permits, receipts, assessments memorandums
and the like, prepared by or in the possession of City of Warren employees, which
pertain to the subject property.

All MLS listings for the real property.

All exhibits in the Complaint filed by the Plaintiff

All affidavits signed by any of the parties or their employees, representatives or
agents.

All reports, inspections, documents and the like pertaining to the subject property
All documents relied upon, or sited by the Defendants in Defendants Exhibit List
or in any discovery document.

All correspondence between the parties and/or their agents

All documents obtained during discovery

Any and all necessary rebuttal documents.

All documents records, exhibits, notes, invoices, charts, permits relied upon or
produced by Defendants or Defendants expert or lay witnesses.

All documents identified in any discovery request, subpoena, deposition,
interrogatory, admission or pleading.

All documents and affidavits of any process server who completed service
Case 2:11-cv-10940-GER-PJK ECF No. 1 filed 03/09/11 PagelD.61 Page 61 of 69

pertaining to any alleged summary proceedings action or any other matter
pertaining to this litigation.
19. Plaintiff reserves the right to further amend and supplement this exhibit list as

discovery is ongoing in this matter.

Respectfully submitted:

py eZ PA.»

-"" VALERIE MORAN'(P 56498)
THE MORAN LAW FIRM
Attorney for Plaintiff
115 N. Center St. Suite 203
Northville, MI 48167
Ph: 248-465-9400
Fx: 248-465-9465

Dated: February 14, 2011
Cpt

*» Case 2:11-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.62 Page 62 of 69

STATE OF MICHIGAN
IN THE CIRCUIT COURT FOR THE COUNTY OF MACOMB

RONALD NIEPORTE,
Individually
Plaintiff,
-VS.-

CITIMORTGAGE INC.,
a foreign profit corporation,
TROTT & TROTT, P.C.,
a Michigan corporation,
Federal Home Loan Mortgage Corporation
(Freddie Mac)
GTJ LLC,
a domestic limited liability company
Jointly and Severally,
Defendants.

VALERIE A, MORAN (P 56498)
THE MORAN LAW FIRM
Attorney for Plaintiff

115 N. Center Street Suite 203
Northville, MI 48167
248-465-9400

RICHARD WELKE

TROTT & TROTT, PC.

Attorney for Defendant Trott & Trott, only
31440 Northwestem Hwy Suite 200
Farmington Hills, MI 48334
248-723-5765

Case No. 10-4940-CH
Hon. Judge Foster

GREGORY DEMARRS (P 33578)
Honigman Miller Schwartz & Cohn
Attomey for Defendant GTI only
660 Woodward Ave. Suite 2290
Detroit, MI 48226

313-465-7356

PROOF OF SERVICE

I, Valerie Moran, Attorney for the Plaintiff affirmatively state that I served a copy

of Plaintiff's Witness List, Exhibit List and this

First Class Mail on February 14, 2011.

Dated: February 14, 2011

proof of service on all attorney’s of record via

-

VALERIE MORAN (P,56498)
7
 

Case 2:11-cv-10940-GER-PJK ECF No. 1 filed 03/09/11 PagelD.63 Page 63 of 69

STATE OF MICHIGAN

IN THE CIRCUIT COURT FOR THE COUNTY OF MACOMB

RONALD NIEPORTE,
Individually
Plaintiff,

-VS,-

CITIMORTGAGE INC.,
a foreign profit corporation,
TROTT & TROTT, P.C.,
a Michigan corporation,
Federal Home Loan Mortgage Corporation
(Freddie Mac)
GTJ LLC,
a domestic limited liability company
Jointly and Severally,
Defendants.

VALERIE A. MORAN (P 56498)
THE MORAN LAW FIRM
Attorney for Plaintiff

115 N. Center Street Suite 203
Northville, MI 48167
248-465-9400

RICHARD WELKE

TROTT & TROTT, PC.

Attorney for Defendant Trott & Trott, only
31440 Northwestern Hwy

Suite 200

Farmington Hills, MI 48334
248-723-5765

Case No. 10-4940-CH
Hon. Judge Foster

GREGORY DEMARRS (P 33578)
Honigman Miller Schwartz & Cohn
Attorney for Defendant GTJ only
660 Woodward Ave. Suite 2290
Detroit, MI 48226

313-465-7356

PLAINTIFF’S MOTION FOR EXTENSION OF SUMMONS AS TO DEFENDANT
FREDDIE MAC
Case 2:11-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.64 Page 64 of 69

NOW COMES the Plaintiff by and through his attorney and brings this Motion for

Extension of Summons pursuant to MCR 2.105(I) and MCR 2.102(D) respectively and state as

follows:

1. On, November 16, 2010 a complaint was filed on Plaintiff's behalf against defendant
Federal Home Mortgage Corporation (Feddie Mac) Plaintiff has completed service on all
Defendants, but has been unable to complete service of process on Defendant Freddie
Mac due to contradictory addresses that have been provided.

2. Defendant Trott & Trott has advised that they have been retained by Freddie Mac, but

refuse to provide or confirm an address or to accept service.
3. Plaintiff has obtained a phone number and verified an address with the legal department

of Freddie Mac, and is awaiting to see if service is accepted as represented.

WHEREFORE, Plaintiffs requests this Honorable Court to order an extension of the
summons pursuant to MCR 2.102(D) or in the alternative Order Trott & Trott to accept

service as per emails from Richard Welke, they have been retained to represent Freddie Mac

Respectfully itted:
By: LEE - LY.
_-7 Valerie A. Moran (P 56498)
- Attorney for Plaintiffs
115 N. Center Street Suite 20

Northville, MI 48167
248-465-9400

in this matter.

February 14, 2011
Case 2:11-cv-10940-GER-PJK ECF No. 1 filed 03/09/11 PagelD.65 Page 65 of 69

STATE OF MICHIGAN

IN THE CIRCUIT COURT FOR THE COUNTY OF MACOMB

RONALD NIEPORTE,
Individually
Plaintiff,
-VS,-

CITIMORTGAGE INC.,
a foreign profit corporation,
TROTT & TROTT, P.C.,
a Michigan corporation,
Federal Home Loan Mortgage Corporation
(Freddie Mac}
GTJ LLC,
a domestic limited liability company
Jointly and Severally,
Defendants.

VALERIE A. MORAN (P? 56498)
THE MORAN LAW FIRM
Attorney for Plaintiff

115 N. Center Street Suite 203
Northville, MI 48167
248-465-9400

RICHARD WELKE

TROTT & TROTT, PC.

Attorney for Defendant Trott & Trott, only
31440 Northwestern Hwy

Suite 200

Farmington Hills, MI 48334
248-723-5765

Case No. 10-4940-CH
Hon. Judge ‘Foster

GREGORY DEMARRS (P 33578)
Honigman Miller Schwartz & Cohn
Attorney for Defendant GTJ only
660 Woodward Ave. Suite 2290
Detroit, MI 48226

313-465-7356

PLAINTIFF’S BRIEF IN SUPPORT MOTION FOR
SUBSTITUTED SERVICE AND EXTENSION OF SUMMONS
 

Case 2:11-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.66 Page 66 of 69

Michigan law is clear on the remedy available to party who is unable to serve a
defendant, especially a defendant who is believed to be avoiding service. MCR 2.105(I)

provides,

“ (1) On a showing that service of process cannot be reasonably made a provided in this rule, the
court may by order permit service of process to be made in any other manner reasonably

calculated to give the defendant actual notice of the proceedings and an opportunity to be heard.”

In the instant case, Defendants are, upon information and belief, deliberating frustrating the
completion of service. Trott, & Trott despite representing that they have been retained in this
matter, has refused to accept service and have refused to provide or confirm any address. Such
| tactics only frustrate the advancement of this case. |
If said address now obtained, is incorrect, Plaintiffs only recourse to effectuate proper service is
by order of this Honorable Court mandating Trott & Trott accept service or by publication.
Plaintiff has been unable to confirm a proper address for Freddie Mac and therefore has
been delayed in the ability to make proper service and requests an extension of the summons in
case the latest address is no longer valid. The extension of the life of a summons is permitted by .

MCR 2.102(D), which provides,

“Expiration. A summons expires 9] days after the date the complaint is filed. However, within
that 91 days, on a showing of good cause, the judge to whom the action is assigned may order a
second summons to issue for a definite period not exceeding | year from the date the complaint is
filed. if such an extension is granted, the new summons expires at the end of the extended period.
The judge may impose just conditions on the issuance of the second summons. Duplicate
summons issued under subrule (A) do not extend the life of the summons. The running of the 91
day period is tolled while a motion challenging the sufficiency of the summons or the service of

the summons is pending.” MCR 2.102(D).
Case 2:11-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.67 Page 67 of 69

Michigan Courts have readily agreed that a party is entitled to a second summons and extension
to effectuate alternative service. Hyslop v. Wojjusik, 252 Mich App 500, 506-507; 652 NW2d
517 (2002).

In the instant matter, Plaintiff requests the extension of the summons to allow adequate
time to verify that this address of 8200 Jones Branch Mailstop 202 in McLean Va is accurate and
up to date.

CONCLUSION

Plaintiff has brought a complaint against the identified Defendants for illegal entry into

his property. Plaintiff believes that Defendants are deliberately frustrating service of process in -

this matter.

WHEREFORE, Plaintiffs request this Honorable Court to grant relief by allowing an
extension of the summons pursuant to MCR 2.102(D) to ensure that the latest address is correct

or, in the alternative order that Trott & Trott accept service in this matter.

wre :

- Valerie A. Moran (P SA
Attorney for Plaintiffs
115 N. Center Street Suite 203

Northville, MI 48167
248-465-9400

Dated: February 4, 2011
 

Case 2:11-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.68 Page 68 of 69

STATE OF MICHIGAN

IN THE CIRCUIT COURT FOR THE COUNTY OF MACOMB

RONALD NIEPORTE,
Individually
Plaintiff,
-VS.-
Case No. 10-4940-CH
Hon. Judge Foster
CITIMORTGAGE INC.,

a foreign profit corporation,

TROTT & TROTT, P.C.,

a Michigan corporation,

Federal Home Loan Mortgage Corporation
_ (Freddie Mac)

GTJ LLC,

a domestic limited liability company

Jointly and Severally,

 

Defendants.
/

VALERIE A. MORAN (P 56498) GREGORY DEMARRS (P 33578)
THE MORAN LAW FIRM Honigman Miller Schwartz & Cohn
Attorney for Plaintiff Attorney for Defendant GTJ only
115 N. Center Street Suite 203 660 Woodward Ave. Suite 2290
Northville, MI 48167 Detroit, MI 48226
248-465-9400 313-465-7356
RICHARD WELKE

TROTT & TROTT, PC.

Attorney for Defendant Trott & Trott, only
31440 Northwestern Hwy

Suite 200

Farmington Hills, MI 48334
248-723-5765

AFFIDAVIT

State of Michigan +)

——"

County of Wayne }
 

Case 2:11-cv-10940-GER-PJK ECF No.1 filed 03/09/11 PagelD.69 Page 69 of 69

I, Valerie Moran, Affiant, being duly sworn, do hereby state the following:

1. I make this Affidavit voluntarily and have personal knowledge of the events contained
herein.

2. Tama the Attorney for the Plaintiff in the above captioned matter.
3. [have attempted to obtain the necessary address to complete Service of Process on
Defendant Freddie Mac on several occasions via email and phone discussions with Trott &

Trott and by my own internet search.

4, Upon information and belief, the Defendants address is currently 8200 Jones Branch Dr.
Mailstop 202 McLean, VA 22102

5. I request this extension as I am unable to independently verify that this is an address by
which Freddie Mac will accept service.

If sworn, Affiant will testify to the same. Yat? perjury,

“Valerie Moran, Affiant

  

 

i My Commission Expire
Acting | in the County of {A

 
   

 
